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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov

In re:                                                         Case No.: 19-25286-RAM

CHILDREN FIRST CONSULTANTS,                                    Chapter 11
INC.,

          Debtor.                                     /


                        DISCLOSURE STATEMENT IN SUPPORT OF THE

                                   PLAN OF REORGANIZATION OF

                              CHILDREN FIRST CONSULTANTS, INC.


IMPORTANT: THIS DISCLOSURE STATEMENT CONTAINS INFORMATION THAT
MAY BEAR UPON YOUR DECISION TO ACCEPT OR REJECT THE PROPOSED
CHAPTER 11 PLAN. PLEASE READ THIS DOCUMENT WITH CARE.


Submitted on September 8, 2020 by:

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                                    LIST OF EXHIBITS


                           Exhibit “A” –Chapter 11 Plan

                           Exhibit “B” - Claims Register

                           Exhibit “C” - Debtor’s Schedule B

                           Exhibit “D” - Debtor’s July 2020 Monthly Operating Report




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                                            ARTICLE I.
                                            DEFINITIONS

       Except as otherwise provided in this Plan, all terms used herein shall have the meanings

ascribed to such terms under the Bankruptcy Code, as amended, the Bankruptcy Rules, and the

Local Bankruptcy Rules for the Southern District of Florida (the “Local Rules”). For purposes

of this Plan, except as expressly otherwise provided or unless the context otherwise requires,

all capitalized terms not otherwise defined shall have the meanings assigned to them in this

Section of the Plan. The capitalized terms set forth below when used in this Disclosure

Statement and Plan of Reorganization shall have the following meanings:

       1.1.     “Administrative Claim” shall mean a Claim for payment of costs or expenses

of administration specified in Sections 503(b) and 507(a)(1) of the Bankruptcy Code, incurred

after the Petition Date through the Confirmation Date, including without limitation: (i) the

actual, necessary costs and expenses of preserving the Debtor’s Estate incurred after the

Petition Date; (ii) compensation for legal, accounting and other services and reimbursement of

expenses awarded pursuant to Sections 330(a) or 331 of the Bankruptcy Code; and, (iii) all fees

and charges assessed against the Debtor’s Estate pursuant to Section 1930 of Title 28 of the

United States Code.

       1.2.     “Administrative Claims Bar Date” shall mean the date which occurs thirty

(30) days from the Confirmation Date as the last date to request payment of Administrative

Claims, other than with respect to Professional Claims.

       1.3.     “Administrative Expenses” shall mean any Claim for payment of costs or

expenses of administration specified in Sections 503(b) and 507(a)(1) of the Bankruptcy Code,

incurred after the Petition Date through the Confirmation Date, including without limitation: (i)

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the actual, necessary costs and expenses of preserving the Debtor’s Estate incurred after the

Petition Date; (ii) Professional Claims; and (iii) all fees and charges assessed against the

Debtor’s Estate pursuant to Section 1930 of Title 28 of the United States Code.

       1.4.     “Adversary Proceeding” shall mean the adversary proceeding commenced on

June 2, 2020, by the Debtor upon the filing of a three count complaint against the Florida

Agency for Health Care Administration wherein the Debtor requested turnover of $831,128.28

of uncontested receivables as property of the Estate.

       1.5.     “AHCA” shall mean the State of Florida’s Agency for Healthcare

Administration.

       1.6.     “Allow,” “Allowed,” “Allowance” or words of similar meaning shall mean

with respect to a Claim against the Debtor’s Estate: (i) that no objection has been interposed

within the applicable period of limitation fixed by this Plan or by the Bankruptcy Court and

that such period of limitation has expired; or (ii) that the Claim has been allowed for purposes

of payment by an order of the Bankruptcy Court that is no longer subject to appeal or certiorari

and as to which no appeal or certiorari is pending.

       1.7.     “Allowed Administrative Expense Claim” shall mean an Allowed Claim for

which a Claimant asserts, and that is determined to be entitled to, priority under Sections 503

and 507(a)(1) and (a)(2) of the Bankruptcy Code, other than Administrative Claims.

       1.8.     “Allowed Claim” shall mean a Claim against the Debtor (i) allowed by a Final

Order, (ii) Scheduled as liquidated, undisputed and non-contingent by the Debtor in their

Schedules of Assets and Liabilities filed with the Bankruptcy Court, as they may be amended

or supplemented) or (iii) timely filed with the Clerk of the Bankruptcy Court and to which no



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objection has been made to the allowance thereof within a time fixed by the Bankruptcy Court

and the Claim is not otherwise a Disputed Claim.

       1.9.     “Allowed Unsecured Claim” shall mean an Allowed Claim which arose or

which is deemed to have arisen prior to the filing of the Petition commencing these

Proceedings and as to which the Claimant has not asserted, or as to whom it is determined by

Final Order does not hold, a valid, perfected and enforceable lien, security interest or other

interest in or encumbrance against property of the Debtor or a right of setoff to secure the

payment of such Claim, but excluding unsecured Claims previously paid in the Proceedings

pursuant to agreements approved by the Bankruptcy Court.

       1.10.    “Assets” shall mean the aggregate assets, of any kind, of the Debtor and its

Estate as more specifically defined in section 541 of the Bankruptcy Code.

       1.11.    “Avoidance Action” shall mean potentially avoidable transfers pursuant to

11 U.S.C. §§ 544, 547, 548, and 549.

       1.12.    “Ballot” shall mean the Ballot accompanying this Plan or Order Approving the

Disclosure Statement, upon which holders of Impaired Claims entitled to vote on this Plan

shall indicate their acceptance or rejection of his Plan in accordance with the instructions

regarding voting.

       1.13.    “Bankruptcy Code” (the “Code”) shall mean Title 11 of the United States

Code, which governs the Chapter 11 Case of the Debtor.

       1.14.    “Bankruptcy Court” (the “Court”) shall mean the United States Bankruptcy

Court for the Southern District of Florida, Miami Division, or any other court exercising

competent jurisdiction over the Chapter 11 Case or any proceeding arising in or related to the

Chapter 11 Case.
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        1.15.   “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure

and the local rules of the Bankruptcy Court (including any applicable local rules of the United

States District Court for the Southern District of Florida), as now in effect or hereafter

amended.

        1.16.   “Cause(s) of Action” shall mean any and all causes of action to recover funds

for the benefit of the Estate.

        1.17.   “Chapter 11 Case” or this “Case” shall mean the proceeding under Chapter 11

of the Bankruptcy Code under case number 19-25286-BKC-RAM.

        1.18.   “Claim” shall have the meaning provided for such term in Section 101(5) of the

Bankruptcy Code.

        1.19.   “Claimant,” “Claimholder” or “Creditor” shall mean the holder of a

Disputed Claim or Allowed Claim, as the case may be.

        1.20.   “Claimholder” shall mean a creditor of the Estate whose Claim is not a

Disputed Claim and who is entitled to vote on the Plan.

        1.21.   “Claims Bar Date” shall mean March 16, 2020, which is the date set by the

Bankruptcy Court as the last day for filing a proof of Claim for all creditors except a

governmental unit against the Debtor.

        1.22.   “Class” shall mean a group of Claims or Interests consisting of Claims or

Interests which are substantially similar to each other as classified pursuant to the Plan in

accordance with Section 1122 of the Bankruptcy Code.

        1.23.   “Confirmation” or “Confirmation Date” shall mean the date on which the

Confirmation Order is entered on the Bankruptcy Court’s docket.



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       1.24.    “Confirmation Hearing” shall mean the hearing conducted by the Bankruptcy

Court under Section 1128 of the Bankruptcy Code wherein the Bankruptcy Court shall

consider confirmation of this Plan, in accordance with Section 1129 of the Bankruptcy Code,

as the same may be continued from time to time.

       1.25.    “Confirmation Order” shall mean the Final Order of the Bankruptcy Court

confirming this Plan pursuant to Section 1129 of the Bankruptcy Code.

       1.26.    “Court” shall mean the United States Bankruptcy Court Southern District of

Florida, Miami Division.

       1.27.    “Cramdown Provisions” shall mean in the event that any Impaired Class of

Claimholders with Claims against the Debtor fail to accept the Plan in accordance with §

1129(a) of the Bankruptcy Code, the Debtor will request the Bankruptcy Court to confirm the

Plan in accordance with § 1129(b) of the Bankruptcy Code.

       1.28.    “Creditor” shall mean any person or entity that is a holder of a Claim against

the Debtor.

       1.29.    “Debtor” shall mean CHILDREN FIRST CONSULTANTS, INC..

       1.30.    “Directors”       shall mean (i) Sofia Aneas, LMHC, BCBA; (ii) Oxana

Garkavchenko, LMHC, BCBA and (iii) Yudelkys San Juan Machin, BCBA each owning a

33.3% equity interest in the Debtor.

       1.31.    “Disclosure Statement” shall mean the Disclosure Statement for the Plan of

Reorganization proposed by Debtor pursuant to Section 1125 of the Bankruptcy Code, as such

Disclosure Statement may be amended, modified or supplemented from time to time (and all

exhibits and schedules attached thereto or referred to therein).



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       1.32.    “Disputed Claim” shall mean: (i) a liability scheduled on the Schedules or the

Amended Schedules as disputed, contingent or unliquidated; or, (ii) a timely filed proof of

Claim against which an objection is pending, or is filed within the deadline provided in this

Plan and which Claim has not been Allowed by order of the Bankruptcy Court.

       1.33.    “Disputed Creditors” shall refer to those Creditors with disputed Claims that

have been so designated on Schedule F.

       1.34.    “Earn Out From Operations” shall mean the net disposable income of the

Debtor for the full fiscal year following them first distribution under the Plan after payment of

all ordinary course of business expenses and the establishment of a reserve for three months of

operations.

       1.35.    “Effective Date” shall mean the date on which distributions to Creditors shall

commence after the entry of the Confirmation Order. The Effective Date in this case shall take

place thirty (30) days after the entry of the Confirmation Order.

       1.36.    “Estate” shall mean the estate created by Section 541 of the Bankruptcy Code

upon the Debtor’s filing of the Petition with the Bankruptcy Court in this Proceeding.

       1.37.    “Equity Interest” shall mean a share of stock, warrant or right, other than a

right to convert, to purchase, sell, or subscribe to a share, security, or interest in the Debtor, as

more specifically defined in Section 101(16) of the Bankruptcy Code.

       1.38.    “Executory Contracts” shall mean all contracts, oral or written, to which the

Debtor is a party and which are executory within the meaning of Section 365 of the

Bankruptcy Code.

       1.39.    “Final Order” shall mean an order or judgment of the Bankruptcy Court that is

appealable of right to the United States District Court for the Southern District of Florida
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pursuant to Section 158(a) of Title 28, United States Code, whether or not an appeal can be

timely taken, is taken, or is pending, unless the order is stayed pending appeal, and whether or

not a timely motion is filed under Bankruptcy Rules 7052(b) or 9023.

        1.40.   “General Unsecured Claim” shall mean any Claim against the Estate of the

Debtor other than an Administrative Claim, an Administrative Tax Claim, a Secured Claim, a

Priority Claim, or a Priority Tax Claim.

        1.41.   “Governmental Unit” shall have the meaning set forth in Section 101(27) of

the Bankruptcy Code.

        1.42.   “Holder” shall mean a creditor of the Estate whose Claim is not a Disputed

Claim and who is entitled to vote on the Plan.

        1.43.   “Impaired” shall mean that the Holder of such Allowed Claim will not receive

a one hundred (100%) percent distribution on account of such Claim.

        1.44.   “Insiders” shall have the meaning given such term in Section 101(31)(B) of the

Bankruptcy Code: (i) a director of the debtor; (ii) an officer of the debtor; (iii) a aperson in

control of the debtor; (iv) a partnership in which the debtor is a general partner; (v) a general

partner of the debtor; or (vi) a relative of a general partner, director, officer, or person in

control of the debtor.

        1.45.   “Litigation Proceeds” shall mean the expected proceeds of the litigation to

recover accounts receivable which are expected to arrive in two segments; first from the

payment of Claims by AHCA and second, from Wellcare.

        1.46.   “Local Rules” ” shall mean the Local Bankruptcy Rules for the Southern

District of Florida.



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       1.47.    “Monthly Operating Reports” ” shall mean the small business debtor monthly

operating reports filed by the Debtor in the Chapter 11 Case.

       1.48.    “Petition Date” shall mean the date that the voluntary petition was filed in this

Case, which date was November 13, 2019.

       1.49.    “Plan” shall mean Debtor’s Plan of Reorganization in its entirety, together with

all addenda, exhibits, schedules and other attachments thereto, in its present form or as it may

be modified, amended or supplemented from time to time.

       1.50.    “Plan Fund” shall mean such sums available for payment of Allowed Claims

under the Plan.

       1.51.    “Plan Payment” shall mean disbursements contemplated in the Plan.

       1.52.    “Priority Cap” shall mean the maximum priority wage amount described in

Section 507(4) of $13,650.00.

       1.53.    “Priority Claim” shall mean a Claim entitled to priority under Section

507(a)(9) of the Bankruptcy Code.

       1.54.    “Professional” shall mean a person or entity (a) employed in the Chapter 11

Case pursuant to a Final Order in accordance with Section 327, 328, or 1103 or otherwise of

the Bankruptcy Code and to be compensated for services rendered prior to the Effective Date,

pursuant to Sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code or (b) for which

compensation and reimbursement has been allowed by the Bankruptcy Court pursuant to

Section 503(b)(4) of the Bankruptcy Code.

       1.55.    “Professional Claim” shall mean the Claim of any legal counsel, accountant,

consultant, financial advisor, or other Professional entitled to such Claim pursuant to Sections



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327, 328, 330, 331, 503(b) or 1103 of the Bankruptcy Code for services rendered before the

Effective Date.

        1.56.   “Proponent” shall mean the Debtor.

        1.57.   “Reorganized Debtor” shall mean the Debtor in its restructured and

reorganized form as of the entry of the Confirmation Order.

        1.58.   “Scheduled” shall mean as set forth in the Debtor’s Schedules of Assets and

Liabilities.

        1.59.   “Schedules” or “Amended Schedules” or “Schedules of Assets and

Liabilities” or “Statement of Financial Affairs” shall mean the Schedules and any Amended

Schedules filed or which may be filed by the Debtor in this Chapter 11 Case.

        1.60.   “Solicitation Procedures Order” ” shall mean the order which sets forth the

solicitation procedures in this Chapter 11.

        1.61.   “United States Trustee” shall mean the Assistant United States Trustee for the

Southern District of Florida.

        1.62.   “United States Trustee Fees” shall mean the quarterly fee payments due under

28 U.S.C. § 1930(a)(6), to be paid to the United States Trustee System Fund at Treasury in

each case under chapter 11 (except small business cases under Subchapter V of chapter 11) for

each calendar quarter, or portion thereof, between the date a bankruptcy petition is filed and the

date the court enters a final decree closing the case, dismisses the case, or converts the case to

another chapter in bankruptcy.

        1.63.   “Voting Deadline” shall mean ________, 2020 5:00 p.m. Eastern Daylight

Time.



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          1.64.    “Uncontested Receivable” shall mean $831,128.28 of uncontested receivables

owed by AHCA, which are the subject of the Adversary Proceeding.

          1.65.    “WellCare” shall mean Wellcare Health Plans, Inc.

          1.66.    “Undefined Terms” shall mean that a term used but not defined herein shall

have the meaning given to it by the Bankruptcy Code or the Bankruptcy Rules, if used therein.

                                               ARTICLE II.
                                             INTRODUCTION

          This is the disclosure statement (the “Disclosure Statement”), which describes the plan

of reorganization (the “Plan”) in the small business Chapter 11 case of CHILDREN FIRST

CONSULTANTS, INC. (the “Debtor” or “Children First”). This Disclosure Statement and

the Plan are propounded pursuant to sections 1125 and 1129 of title 11 of the United States

Code (the “Bankruptcy Code”), and submitted to all known Creditors and holders of Claims

and Interests against Debtor for the purpose of disclosing the information that is material and

necessary for Claimants to make an informed decision in exercising their right to vote on and

understand the distribution scheme and proposed reorganization of the Debtor pursuant to the

Plan.      A copy of the Plan is attached as “Exhibit A” to this Disclosure Statement.

Reorganization pursuant to Chapter 11 of the Bankruptcy Code depends upon the receipt of a

sufficient number of votes in favor of reorganization. Your vote, therefore, is important. Your

rights may be affected by the treatment of your Claim or interest under the Plan. Therefore,

you should read this Disclosure Statement and the Plan carefully, and discuss it with your

attorney. If you do not have an attorney, you may wish to consult one.

          You are urged to study the Plan in full and to consult with your counsel about the Plan

and its effect, including possible tax consequences, upon your legal rights. Please read this

                                                        10


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Disclosure Statement carefully before voting on the Plan.                CREDITORS CONCERNED

WITH HOW THE PLAN MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT

WITH THEIR OWN ACCOUNTANTS, ATTORNEYS, OR OTHER ADVISORS.

       The financial information contained herein is not covered by a certified audit of

independent public accountants. For this reason, the Debtor is unable to represent that the

information contained in this Disclosure Statement is without inaccuracy, although every effort

has been made to present the information fairly and accurately. Additional information can be

found in the Debtor’s Statement of Financial Affairs, Schedules of Assets and Liabilities, and

Monthly Operating Reports, all of which have been filed with the United States Bankruptcy

Court for the Southern District of Florida.

       Except as otherwise expressly indicated herein, the portions of this Disclosure

Statement describing the Debtor, its business, and the Plan have been prepared from

information furnished by Debtor’s management. This Disclosure Statement uses defined terms

in capital letters. For the definitions of capitalized terms (not otherwise defined herein), see

Article 1 in the Plan.

       The proposed distributions under the Plan are discussed at Article V of this Disclosure

Statement. Class 1 Allowed Wage Claims are expected to receive a pro rata distribution in an

amount of up to 100% of the Priority Cap (defined below). Allowed General Unsecured

Claims, including Allowed Wage Claims above the Priority Cap, are classified in Class 2 and

are expected to receive a distribution on account of their allowed Claims.

       A.       Purpose of this Document

       This Disclosure Statement describes:

            1. A brief explanation of Chapter 11 and the confirmation process,
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            2. The business of Debtor and significant events during the bankruptcy case,

            3. How the Plan proposes to treat Claims or equity interests of the type you hold
               (i.e., what you will receive on your Claim or equity interests if the Plan is
               confirmed),

            4. Who can vote on or object to the Plan,

            5. What factors the Bankruptcy Court (the “Court”) will consider when deciding
               whether to confirm the Plan,

            6. Why the Debtor believes the Plan is feasible, and how the treatment of your
               Claim or equity interest under the Plan compares to what you would receive on
               your Claim or equity interest in liquidation, and

            7. The effect of confirmation on the Plan.

                                        ARTICLE III.
                                  OVERVIEW OF CHAPTER 11

       A.       Brief Explanation of Chapter 11

       Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Pursuant to

Chapter 11, a Debtor is authorized to reorganize or liquidate its business for its benefit and for

the benefit of Creditors and Interest-holders. Upon the filing of a petition under Chapter 11

actions by Creditors and Claimants attempting to collect on pre-petition Claims or to foreclose

upon any of the Debtor’s property are automatically stayed during the pendency of the Chapter

11 case.

       In this case, the Debtor, a small business, has continued in possession of its property.

Accordingly, pursuant to Section 1107(a) of the Bankruptcy Code, the Debtor is vested with

substantially the same powers as a trustee under the Bankruptcy Code.

       B.       Voting on the Plan

       Formulation of a plan of reorganization is the principal purpose of a Chapter 11

reorganization proceeding. However, liquidation of a Debtor’s assets is also permitted under

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Chapter 11. The Plan is the vehicle through which Claims of the Debtor’s Creditors are

satisfied. Each Creditor entitled to vote on the Plan may cast its vote for or against the Plan by

completing, dating, and signing the Ballot Form, which shall accompany the Plan.                          The

Bankruptcy Court will, by separate Order, order that Ballots and Objections to Confirmation of

the Plan, must be received at the offices of Debtor’s counsel, Nicole Grimal Helmstetter, Esq.,

Agentis PLLC, 55 Alhambra Plaza, Suite 800, Coral Gables, Florida 33134 and the Office of

the United States Trustee, 51 SW 1st Avenue, Room 1204, Miami, Florida 33130, no later than

5:00 p.m. on the date set forth in the Ballot and Order that shall accompany this Disclosure

Statement or be provided by separate mailing.

       This Disclosure Statement is intended to assist Creditors in evaluating the Plan and in

determining whether to accept the Plan. UNDER THE BANKRUPTCY CODE, YOUR

VOTE FOR ACCEPTANCE OR REJECTION MAY NOT BE SOLICITED UNLESS

YOU RECEIVE A COPY OF THIS DISCLOSURE STATEMENT PRIOR TO OR

CONTEMPORANEOUS WITH SUCH SOLICITATION. THE SOLICITATION OF

VOTES ON THE PLAN IS GOVERNED BY THE PROVISIONS OF SECTION 1125(b)

OF THE BANKRUPTCY CODE, THE VIOLATION OF WHICH MAY RESULT IN

SANCTIONS         BY     THE      COURT,         INCLUDING          DISALLOWANCE               OF         THE

SOLICITED VOTE, AND LOSS OF THE “SAFE HARBOR” PROVISIONS OF

SECTION 1125(e) OF THE BANKRUPTCY CODE.

       Only the votes of Creditors in the Classes that are Impaired by the Plan will be counted

to determine if the Plan is accepted by Creditors. In this case, only Classes 1 and 2, are

Impaired and entitled to vote. Therefore, only Classes 1 and 2 will have their votes counted.

Votes on the Plan will only be counted for those Claims for which a proof of Claim was filed
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before the Claims Bar Date, if any, providing such Claim has not been disallowed, objected to,

or suspended prior to the computation of the vote. The Ballot Form does not constitute a

proof of Claim.

       C.       The Confirmation Hearing

       The Bankruptcy Court will schedule a hearing on the Confirmation of the Plan to

determine if the Plan has been accepted by the requisite number of Creditors and whether the

other requirements necessary to Confirmation have been satisfied. The date on which the

Confirmation Hearing will be conducted will be set forth in the Bankruptcy Court’s Order

setting the hearing on Confirmation of the Plan, which will be provided either with the Plan or

in a separate mailing.

       D.       Confirmation

       At the Confirmation Hearing, the Bankruptcy Court will determine, among other

things, whether the Plan has been accepted by each Impaired Class of Creditors. Under Section

1126 of the Bankruptcy Code, an Impaired Class is deemed to have accepted the Plan if at least

two-thirds (2/3) in amount and more than one-half (1/2) in number of Allowed Claims in such

Class voting to accept or reject the Plan have voted in favor of acceptance.

       There are two methods by which the Plan can be confirmed: (i) the “acceptance”

method in which all Impaired Classes have voted to accept the Plan as described above; and

(ii) the “cram-down” method, in which the Plan is not accepted by one or more of the Impaired

Classes, provided the Bankruptcy Court finds that the Plan does not discriminate unfairly and

is fair and equitable to such Class or Classes. For a Plan to be confirmed under the “non-

acceptance” method, it must be accepted by at least one Class of Claims or Interests that is



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Impaired by the Plan. The Debtor may choose to rely upon the “non-acceptance” method to

seek Confirmation of the Plan, if it is not accepted by all Impaired Classes of Creditors.

        Section 1129(b) of the Bankruptcy Code provides that the Bankruptcy Court may

confirm the Plan notwithstanding its rejection by one or more Impaired Class if the Bankruptcy

Court finds that the Plan is fair and equitable with respect to each Impaired Class that does not

accept the Plan. With respect to Classes of Secured Creditors, the fair and equitable test

requires that a Secured Creditor (i) retain its lien or liens and receive cash payments having a

present value equal to its Allowed Secured Claim; (ii) receive the proceeds from the sale of its

collateral, or (iii) realize the indubitable equivalent of its Claim. With respect to a Class of

Unsecured Claims, the fair and equitable test requires that if each Claimant in such Class does

not receive property having a present value equal to the amount of such Claimant’s Allowed

Claim, no junior class can receive any property on account of such junior Claim or Interest. If

the Bankruptcy Court orders Confirmation of the Plan, then pursuant to Section 1141(d) of the

Bankruptcy Code, the Debtor is discharged from all pre-Confirmation debts except as is

provided in the Plan. Confirmation makes the Plan binding on the Debtor, all Creditors,

Interest Holders, and other parties in interest regardless of whether they voted to accept or

reject the Plan.

                             ARTICLE IV.
              THE DEBTOR’S BUSINESS AND THE BANKRUPTCY CASE

        A.         The Business of Children’s First

    Children First Consultants, Inc. is a corporation formed under the laws of the State of

Florida in March 2017. The Debtor provides behavioral analysis services to children with

developmental disabilities, including but not limited to; autism, down syndrome, attention

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deficit hyperactivity disorder (ADHD), depression, anxiety and other conduct and behavioral

issues. The Debtor engages licensed therapists on a contract basis to manage its clients’ care.

The vast majority of Children First’s clientele consists of Medicaid recipients. Children First is

owned and operated by three Directors; (i) Sofia Aneas, LMHC, BCBA; (ii) Oxana

Garkavchenko, LMHC, BCBA and (iii) Yudelkys San Juan Machin, BCBA, each owning a

33.3% equity interest. Sofia Aneas is a Director and the president of the Debtor. Other than the

three Directors, there are currently no other employees.

       B.       Business Factors Necessitating the Bankruptcy Case

       Despite having been subjected to three prior audits with no adverse findings or

recommendations, Children First was placed on a prepayment review audit from May through

August 2019 by the Agency for Healthcare Administration (“AHCA”).                          Approximately

$770,094.51 of the Debtor’s pending Medicaid claims were subsequently denied for reasons

inconsistent with AHCA’s own rules and guidelines. At AHCA’s direction, the Debtor

continued operations while on pre-payment review and submitted new claims to Medicaid for a

period of four months. A total of $831,128.28 in claims remain outstanding, billed from May

2019 through September 2019 (the “Uncontested Receivable”). The Debtor has not received a

response from AHCA as to when payment on the Uncontested Receivable would be made. On

September 12, 2019, AHCA advised the Debtor that it had terminated the prepayment review

of the denied claims and was imposing a Medicaid payment suspension. AHCA also ordered

the Debtor to wind down its business by November 15, 2019 and canceled its Medicaid

provider number. Subsequently, the Debtor was advised by WellCare Health Plans, Inc.

(“Wellcare”), that in light of its payment suspension with AHCA, the Debtor was no longer

eligible to work with Wellcare either. Wellcare owes the Debtor $22,259.00 in unpaid claims.
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        As of April 2019, the Directors did not collect payroll, giving raise to the Directors’

respective wage claims. The Directors additionally provided capital in the form of $36,836.001

giving rise to the shareholder loans. The Debtor was unable to pay its contracted therapists

without collecting on these past due Medicaid receivables. Without therapists and Medicaid,

the Debtor was hindered from continuing its treatment of children with disabilities. This

Chapter 11 case was commenced on the Petition Date.

        Thereafter, on June 2, 2020, the Debtor commenced a three count Adversary

Proceeding2 against the Florida Agency for Health Care Administration wherein the Debtor

requested turnover of the Uncontested Receivable as property of the Estate.

        On July 6, 2020, AHCA filed a Motion to Dismiss Adversary Complaint [ECF# 7 in the

Adversary Proceeding], which was granted on August 26, 2020 [ECF# 16 in the Adversary

Proceeding], in light of the Court’s finding of lack of subject matter jurisdiction. Accordingly,

the Debtor will be pursuing its remedies to recover the Uncontested Receivable in State Court.

        C.       Prepetition Priority and Unsecured Claims

        According to the Claims Register and the Debtor’s bankruptcy schedules, One Million

Six Twenty-Eight Thousand Five Hundred Eighty-Seven Dollars and 81/100 ($1,628,587.81)

in general unsecured Claims have been filed or asserted in the Case. The Debtor anticipates

that approximately $922,151.10 in unsecured (non-affiliate) Claims will be allowed in this

case, after resolution of Claims objections. A copy of the Claims Register is attached hereto as

“Exhibit B”. In addition, the Debtor scheduled numerous Claimholders in its Schedules. To

the extent that a creditor filed a proof of Claim that was also scheduled by the Debtor, the filed


1
  Each Director contributed $12,278.66.
2
  The complaint included a count for (i) turnover; (ii) breach of contract; (ii) unjust enrichment; and (iv)
declaratory judgment.
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proof of Claim would supersede the scheduled Claim, subject to alternative resolutions

obtained in the Claims objection process. The Debtor does not waive any objections to or

concedes that any of these Claims are or will be allowed. The Debtor has filed one Claim

objection to date, disputing the amount of the Claim asserted. The Debtor’s Plan will be

funded in large part by the expected proceeds of the litigation with AHCA (the “Litigation

Proceeds”). The anticipated payout of Litigation Proceeds is expected to be sufficient to

satisfy Administrative Expenses, Allowed Wage Claims, establish a working capital reserve

and fund a small portion of the Class 2 General Unsecured Claims. This should not be

construed by any creditor to mean that its Claim will be allowed or that it will actually receive

any certain percentage or distribution on its Claim.

       D.       Significant Events in the Bankruptcy Including First Day Motions

       As of the Petition Date, Debtor, through its counsel, filed the following motions:

                1.      Debtor’s Emergency Application for Approval, on an Interim and Final
                        Basis, of Employment of Jacqueline Calderin, Esq. and the law firm of
                        Agentis PLLC as General Bankruptcy Counsel for the Debtor in
                        Possession, Nunc Pro Tunc to Petition Date [ECF #9];

                2.      Debtor’s Emergency Motion for Entry of an Order Authorizing the
                        Debtor’s Continued Use of Cash Management System and Existing
                        Bank Accounts [ECF# 12];

                3.      Debtor’s Emergency Motion for Entry of an Order Authorizing the
                        Debtor to Pay Critical Vendor Claims in the Ordinary Course of
                        Business [ECF# 15];

                4.      Debtor’s Motion for an Order Determining that (I) It is not a “Health
                        Care Business” and, in the Alternative, if it is found to be a “Health Care
                        Business” (II) the Appointment of an Ombudsman is Unnecessary
                        [ECF# 32];

                5.      Debtor’s Application for Employment of Christopher M. David, Esq.
                        and Fuerst Ittleman David & Joseph as Special Litigation Counsel to
                        Represent the Debtor and Setting Final Hearing Pursuant to 11 U.S.C. §
                        327(e) and Local Rule 9013-1(C) and F.R.B.P. 6003 [ECF# 46];
                                                18


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                6.       Debtor’s Motion for Authorization to Make Payment of an
                         Administrative Expense to Gasher & Associates, P.A. for 2019 Tax
                         Preparation Services Nunc Pro Tunc to February 13, 2020 [ECF# 48];

                7.       Debtor-In-Possession’s Expedited Motion to Extend Exclusive Period
                         for Filing a Plan of Reorganization and Soliciting Acceptances Thereof
                         [ECF# 56]; and

                8.       Debtor’s Objection to Claim of Magali Martinez Ramirez / Blanca
                         Therapy Services, Corp (Claim No.: 2-1) [ECF# 69].


       E.       Claims

                1.       Bar Date for Filing Proofs of Claims and Administrative Expenses.

The general Claims Bar Date in this case was on March 16, 2020.

                2.       Claims Objections Generally.             There are some Creditors that the

Debtor scheduled as disputed, contingent, or unliquidated. These Creditors have been so

designated on Schedule F (the “Disputed Creditors”).                 To the extent that any of these

Disputed Creditors filed a proof of Claim, the Debtor may object to these Claims. In addition,

in the event that proofs of Claim that may have been filed, but not scheduled, to which the

Debtor may file an objection. On September 8, 2020, the Debtor filed the Debtor’s Objection

to Claim of Magali Martinez Ramirez / Blanca Therapy Services, Corp (Claim No.: 2-1)

[ECF# 69] objecting to Claim of Magali Martinez Ramirez / Blanca Therapy Services, Corp

(Claim No.: 2-1). Only creditors with allowed Claims are entitled to vote on the Plan.

                                   ARTICLE V.
                       DEADLINES FOR VOTING AND OBJECTING

       The Court has not yet confirmed the Plan described in this Disclosure Statement. This

section describes the procedures pursuant to which the Plan will or will not be confirmed.




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       A.       Final Hearing to Approve the Disclosure Statement and Plan

       The hearing to finally approve this Disclosure Statement and confirm the Plan will be

held at date to be set by the Court at the United States Bankruptcy Court, C. Clyde Atkins U.S.

Courthouse, 301 North Miami Avenue, Courtroom 4, and Miami, Florida 33128, if the Court

has not re-opened, the hearing will take place only by video conference conducted using the

services of Zoom Video Communications, Inc. Zoom will provide a password-protected link

for the appropriate Zoom video conference to those who register to participate. If the Plan is

rejected by one or more Impaired Classes of Claims and at least one Class accepts, the

Bankruptcy Court may still confirm the Plan, or modifications thereof, under Bankruptcy Code

Section 1129(b) (commonly referred to as a “cram down”) if it determines, among other things,

that the Plan does not discriminate unfairly and is fair and equitable with respect to the

rejecting Class or Classes of Claims Impaired under the Plan.                       The procedures and

requirements for voting on the Plan are described in more detail below.

       B.       Deadline for Voting to Accept or Reject the Plan

       If you are entitled to vote to accept or reject the Plan, vote on the enclosed Ballot and

return the Ballot in the enclosed envelope to:

       Clerk’s Office - Miami Division
       C. Clyde Atkins United States Courthouse
       T. 305.714.1800
       301 North Miami Avenue, Room 150
       Miami, FL 33128

       With a copy to:

       Nicole Grimal Helmstetter, Esq.
       Counsel to the Debtor
       Agentis PLLC
       55 Alhambra Plaza, Suite 800
       Coral Gables, Florida 33134
                                                     20


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       Your Ballot must be received by __________, 2020 or it will not be counted.

       Each Creditor entitled to vote on either Plan may cast its vote for or against that Plan by

completing, dating, and signing the Ballot Form (the “Ballot”), which shall accompany the

Plan. The Bankruptcy Court will, by separate Order, order that Ballots and objections to

Confirmation of the Plan, be received at the offices of Debtor’s counsel, Nicole Grimal

Helmstetter, Esq., Agentis PLLC, 55 Alhambra Plaza, Suite 800, Coral Gables, Florida 33134

and the Office of the United States Trustee, Region 21, 51 SW First Avenue, Room 1204,

Miami, Florida 33130, no later than 5:00 p.m. on the date set forth in the Ballot and Order

approving this Disclosure Statement or be provided by separate mailing.

       This Disclosure Statement is intended to assist Creditors in evaluating the Plan and in

determining whether to accept the Plan. UNDER THE BANKRUPTCY CODE, YOUR

VOTE FOR ACCEPTANCE OR REJECTION MAY NOT BE SOLICITED UNLESS

YOU RECEIVE A COPY OF THIS DISCLOSURE STATEMENT PRIOR TO OR

CONTEMPORANEOUS WITH SUCH SOLICITATION. THE SOLICITATION OF

VOTES ON THE PLAN IS GOVERNED BY THE PROVISIONS OF SECTION 1125(b)

OF THE BANKRUPTCY CODE, THE VIOLATION OF WHICH MAY RESULT IN

SANCTIONS         BY     THE       COURT,        INCLUDING,          BUT      NOT       LIMITED           TO,

DISALLOWANCE OF THE SOLICITED VOTE, AND LOSS OF THE “SAFE

HARBOR” PROVISIONS OF SECTION 1125(e) OF THE BANKRUPTCY CODE.

       Only the votes of Creditors in the Classes that are Impaired by the relevant Plan will be

counted to determine if that Plan is accepted by Creditors. Therefore, Classes 1 and 2 of

Debtor’s Plan will have their votes counted. Votes on the Plan will only be counted for those

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Claims for which a proof of Claim was filed before the applicable Claims Bar Date, if any,

providing such Claim has not been disallowed or suspended prior to the computation of the

vote. The Ballot Form does not constitute a proof of Claim.

       C.       Deadline for Objecting to the Adequacy of Disclosure and Confirmation of
                the Plan

       Objections to this Disclosure Statement or to the Confirmation of the Plan must be filed

with the Court at the Clerk’s Office address provided above and served upon Debtor’s counsel,

Nicole Grimal Helmstetter, Esq., and the Office of the United States Trustee, 51 SW 1st

Avenue, Room 1204, Miami, Florida 33130.

       D.       Sources of Information

       Except as otherwise expressly indicated, the portions of this Disclosure Statement

describing the Debtor, its business, properties, and management have been prepared from

information furnished by the Debtor.

       Certain of the materials contained in this Disclosure Statement are taken directly from

other readily accessible documents or are digests of other documents. While the Debtor has

made every effort to retain the meaning of such other documents or portions that have been

summarized, the Debtor urges that any reliance on the contents of such other documents should

depend on a thorough review of the documents themselves. In the event of a discrepancy

between this Disclosure Statement and the actual terms of a document, the actual terms of the

document shall govern, control, and apply.

       The statements contained in this Disclosure Statement are made as of the date hereof

unless another time is specified, and neither the delivery of this Disclosure Statement nor any

exchange of rights made in connection with it shall, under any circumstances, create an


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implication that there has been no change in the facts set forth herein since the date of this

Disclosure Statement.

         No statements concerning the Debtor, the value of its property, or the value of any

benefit offered to the holder of a Claim or Interest under the Plan should be relied on other than

as set forth in this Disclosure Statement. In arriving at a decision, parties should not rely on

any representation or inducement made to secure their acceptance or rejection that is contrary

to information contained in this Disclosure Statement, and any such additional representations

or inducements should be immediately reported to counsel for the Debtor.                      If you want

additional information about the Plan, you should contact Nicole Grimal Helmstetter, Esq., at

T. 305.722.2002, or Agentis PLLC, 55 Alhambra Plaza, Suite 800, Coral Gables, Florida

33134.

         E.      Disclaimer

         The Court has not yet approved this Disclosure Statement as containing
         adequate information to enable parties affected by the Plan to make an
         informed judgment about it terms. The Court has not yet determined
         whether the Plan meets the legal requirements for confirmation.

         THE APPROVAL BY THE BANKRUPTCY COURT OF THIS
         DISCLOSURE STATEMENT DOES NOT CONSTITUTE AN
         ENDORSEMENT BY THE BANKRUPTCY COURT OF THE PLAN OR
         A GUARANTEE OF THE ACCURACY OR COMPLETENESS OF THE
         INFORMATION CONTAINED HEREIN.         THE MATERIAL
         CONTAINED IN THIS DISCLOSURE STATEMENT IS INTENDED
         SOLELY FOR THE USE OF CLAIMHOLDERS IN EVALUATING THE
         PLAN AND VOTING TO ACCEPT OR REJECT THE PLAN.
         ACCORDINGLY, YOU SHOULD NOT RELY ON IT FOR ANY
         PURPOSE OTHER THAN TO DETERMINE HOW TO VOTE ON, OR
         WHETHER TO OBJECT TO, THE PLAN. THE LIQUIDATION OF
         THE DEBTOR PURSUANT TO THE PLAN IS SUBJECT TO
         NUMEROUS CONDITIONS AND VARIABLES, AND THERE CAN BE
         NO   ABSOLUTE    ASSURANCE   THAT    THE   PLAN,  AS
         CONTEMPLATED, WILL BE EFFECTUATED.

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       THE DEBTOR BELIEVES THAT THE PLAN AND THE PROPOSED
       TREATMENT OF CLAIMS IS IN THE BEST INTEREST OF
       CREDITORS, AND THEREFORE URGES YOU TO VOTE TO ACCEPT
       THE PLAN.

       THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR
       DISAPPROVED   BY    THE   SECURITIES   AND   EXCHANGE
       COMMISSION (“SEC”), NOR HAS IT PASSED ON THE ACCURACY
       OR ADEQUACY OF THE STATEMENTS CONTAINED HEREIN. ANY
       REPRESENTATION TO THE CONTRARY IS UNLAWFUL. THE
       PLAN SHOULD BE REVIEWED CAREFULLY.

       NEITHER THE FILING OF THE PLAN NOR ANY STATEMENT OR
       PROVISION CONTAINED IN THE PLAN OR IN THIS DISCLOSURE
       STATEMENT, NOR THE TAKING BY ANY PARTY IN INTEREST OF
       ANY ACTION WITH RESPECT TO THE PLAN, SHALL (I) BE OR BE
       DEEMED TO BE AN ADMISSION AGAINST INTEREST AND (ii)
       UNTIL THE EFFECTIVE DATE, BE OR BE DEEMED TO BE A
       WAIVER OF ANY RIGHTS ANY PARTY IN INTEREST MAY HAVE
       (a) AGAINST ANY OTHER PARTY IN INTEREST OR (b) IN ANY OF
       THE ASSETS OF ANY OTHER PARTY IN INTEREST, AND, UNTIL
       THE EFFECTIVE DATE, ALL SUCH RIGHTS ARE SPECIFICALLY
       RESERVED. IF THE PLAN IS NOT CONFIRMED OR FAILS TO
       BECOME EFFECTIVE, NEITHER THE PLAN NOR THE
       DISCLOSURE STATEMENT, NOR ANY STATEMENT CONTAINED
       IN THE PLAN OR IN THE DISCLOSURE STATEMENT, MAY BE
       USED OR RELIED ON IN ANY MANNER IN ANY SUIT, ACTION,
       PROCEEDING OR CONTROVERSY, WITHIN OR WITHOUT THE
       DEBTOR’S BANKRUPTCY CASE, INVOLVING THE DEBTOR,
       EXCEPT WITH RESPECT TO CONFIRMATION OF THE PLAN.

                            ARTICLE VI.
               SUMMARY OF THE PLAN AND DISTRIBUTION SCHEME

       A.       SOURCES OF PLAN FUNDING

       1.       The Plan Fund. The Plan shall be funded from the following sources (the

“Plan Fund”): (a) recoveries obtained from the Litigation Proceeds after payment of Allowed

Administrative Claims and a set aside of a reserve for litigation costs in the event that the

Reorganized Debtor elects to proceed with further litigation against AHCA or

Wellcare, and (b) an “earn out” distribution from the Debtor’s operations, after the first full

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fiscal year that follows the year in which the first distributions under the Plan are made (the

“Earn Out From Operations”). The term “Earn Out From Operations” shall mean the net

disposable income of the Debtor for the full fiscal year following them first distribution under

the Plan after payment of all ordinary course of business expenses and the establishment of a

reserve for three months of operations.

        2.       Sources of Funding Plan Payments. The Plan Fund shall be funded through

the Debtor’s provision of services to clients enrolled in private insurance plans, including but

not limited to; Cigna, Aetna, Florida Blue, Tricare and United Healthcare. The Litigation

Proceeds are expected to arrive in two segments; first from the payment of claims by AHCA

and second, from Wellcare. The anticipated payout of Litigation Proceeds from the litigation

against AHCA is expected to be sufficient to satisfy Administrative Expenses, Allowed Wage

Claims, establish a working capital reserve and fund a small portion of the Class 2 General

Unsecured Claims. The second round of litigation with Wellcare is expected to provide an

additional payment to Class 2 General Unsecured Claims. For illustrative purposes, if the

Debtor recovers $1 million of Litigation Proceeds, approximately 50% of that amount shall be

used to satisfy Administrative Claims.3 The remaining $500,000.000 shall be used first to

satisfy Class 1 Allowed Wage Claims up to the Priority Cap with the balance paid to Class 2

General Unsecured Claims, after the establishment of a working capital reserve. The

Reorganized Debtor, as reorganized, will retain and will be vested in all property of the Estate,

excepting property which is to be disposed of as provided herein and executory contracts

which are rejected pursuant to this Plan. Sofia Aneas will continue as President of the


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  Special Litigation Counsel, Christopher David, Esq’s employment was approved on a contingency fee basis in
the amount of 35%. The law firm of Agentis, General Counsel for the Debtor, has not yet filed a fee application in
this matter and has not received compensation for its services to date.
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Reorganized Debtor. The retained Estate property shall be used by the Debtor in the ordinary

course of its business, which will continue to be the operation of the corporation providing

behavioral analysis services to children with developmental disabilities, including but not

limited to; autism, down syndrome, attention deficit hyperactivity disorder (ADHD),

depression, anxiety and other conduct and behavioral issues in its present form, or as may be

expanded or modified in the business judgment of the Reorganized Debtor.

       B.       CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

                1.      Manner of Classification of Claims and Interests and Unclassified

Claims. As required by the Bankruptcy Code, the Plan classifies Claims and Equity Security

Interests in various Classes according to their right to priority of payments as provided in the

Bankruptcy Code. The Plan states whether each Class of Claims or Equity Security Interests is

Impaired or Unimpaired. The Plan provides the treatment of each Class will receive under the

Plan. In accordance with the requirements of the Bankruptcy Code, Allowed Administrative

Expense Claims are not classified. The Allowed Claims against the Debtor’s Estate are set

forth and classified as follows:

                        a.       Administrative Expense Claims:                   Each holder of an

Administrative Expense Claim allowed under § 503 of the Code will be paid upon receipt of

the potential Litigation Proceeds arising out of the Debtor’s demand for payment of accounts

receivable asserted against the Agency for Healthcare Administration of Florida (“AHCA”)

and Wellcare. Should the Reorganized Debtor chose to proceed to a second round of litigation

against AHCA and/or Wellcare, a sufficient amount of the Litigation Proceeds, to be

determined at that time, shall be set aside to fund actual projected litigation expenses. All

Administrative Claims incurred in the ordinary course of the Debtor’s business, including
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without limitation, employee wages, utilities, and taxes, shall be paid by the Debtor or

Reorganized Debtor in the ordinary course of business pursuant to customary terms and due

dates.

                        b.       Administrative Bar Date: The deadline for filing for filing a

motion for allowance of an Administrative Claim is ____________, 2020 (the

“Administrative Claims Bar Date”). All requests for allowance and payment of

administrative expense claims (other than Professional Fee Claims or post-petition Claims

incurred in the ordinary course of business which are current) must be filed by the

Administrative Claims Bar Date. Any such Administrative Claim that is not filed within this

deadline shall be forever barred and any holders of Administrative Claims who are required to

file a request for payment of such Claims and who do not file such request by the

Administrative Claims Deadline shall be forever barred from asserting such Claims against the

Debtor, the Reorganized Debtor or any of it property.

                        c.       Professional Fee Claims: The Bankruptcy Court must approve

all requests for the payment of professional compensation and expenses to the extent incurred

on or before the Confirmation Date.               Each Professional requesting compensation or

reimbursement of expenses in the Proceedings pursuant to Sections 327, 328, 330, 331, 503(b),

or 1103 of the Bankruptcy Code shall file an application for allowance of final compensation

prior to the expiration of the deadline set by the Court. Nothing herein shall prohibit each

Professional from requesting interim compensation during the course of these cases pending

Confirmation of the Plan. All fees, costs, and disbursements of Professionals shall be the

subject matter of applications to the Court for allowance or award in the manner prescribed by

the Code. Professional Fee Claims will be paid upon receipt of the Litigation Proceeds.
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Special Litigation Counsel, Christopher David, Esq’s employment was approved on a

contingency fee basis in the amount of 35%. Agentis, General Counsel for the Debtor, has not

yet filed a fee application in this matter and has not received any compensation for its services

to date. Agentis holds an unapplied prepetition retainer in the amount of $10,349.99. Agentis’

fees to date are approximately $70,000.00, which will be paid from the Litigation Proceeds

when approved by Order of the Bankruptcy Court.

                        d.       United States Trustee Fees. All fees required to be paid by

28 U.S.C. §1930(a) (6) (“U.S. Trustee Fees”) will accrue and be timely paid until the case is

closed, dismissed, or converted to another chapter of the Code. Any U.S. Trustee Fees owed

on or before the Effective Date of this Plan will be paid on the Effective Date.

                2.      Classified Claims

                        a.       Class 1. Allowed Wage Claims. In light of their material and

substantial contribution to the Debtor’s business operations and going concern value, the

Debtor shall treat the Claims of its independent contractors as priority Claims commensurate

with the wage Claims of the Debtor’s W-2 employees. The Debtor believes that all

independent contractor claims’ comply with the provisions of 507(a)(4)(B). Accordingly,

pursuant to Section 507(a)(4), the Allowed Wage Claims shall receive a pro rata distribution in

an amount of up to 100% of $13,650.00 (the “Priority Cap”). Any holders of Allowed Wage

Claims whose total allowed Claim exceeds the Priority Cap shall participate in distributions to

Class 2 Allowed General Unsecured Claims. This class is Impaired and Claimants other

than Insiders are entitled to vote under the Plan.

                        b.       Class 2. Allowed General Unsecured Claims. After payment of

allowed Administrative Expense Claims and Class 1 Allowed Wage Claims, Allowed General
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Unsecured Claims (including Allowed Wage Claims above the Priority Cap) shall receive a pro

rata distribution from the balance of the Plan Fund. Class 2 is Impaired and Claimants other

than Insiders are entitled to vote.

                        c.       Class 3. Equity Interests of the Directors. Class 3 consists of

the Equity in the Debtor which are owned by the Directors and retained under the Plan. Class 3

is not Impaired and is not entitled to vote.

                        d.       Impaired Classes.         The following classes are Impaired and

entitled to vote on the Plan: Classes 1 and 2.

                       ARTICLE VII.
 PROVISIONS REGARDING VOTING AND DISTRIBUTIONS UNDER THE PLAN

       A.       Ballots and Voting Deadline. The deadline for submitting Ballots for the

acceptance or rejection of the Plan is _________, 2020 5:00 p.m., Eastern Daylight Time

(the “Voting Deadline”).

       All Claimants (or their authorized representatives) entitled to vote must:

                1.      carefully review the Ballot and corresponding instructions,

                2.      execute the Ballot, and

                3.      return the Ballot to the address indicated on the Ballot so that it is
                        actually received by the Voting Deadline.

       B.       Claimholders Entitled to Vote. Any Creditor who is not an Insider, and whose

Claim is not a Disputed Claim or an Unimpaired Claim, is entitled to vote. Under the Plan a

“Disputed Claim” means (a) a Claim that is listed on a Debtor’s Schedules as other than

disputed, contingent or unliquidated, but as to which an objection has been filed, and such

objection has not been withdrawn or denied by a Final Order; (b) a Claim that is listed on

Debtor’s Schedules as disputed, contingent or unliquidated; or (c) a proof of Claim or request
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for payment of an Administrative Claim that has been filed by the Bar Date or has otherwise

been deemed timely filed under applicable law.4                     Returning the Ballot to the Debtor or

Debtor’s Counsel does not constitute filing a proof of Claim or Interest.

           Any Holder of a Disputed Claim is not entitled to vote, unless the Bankruptcy Court, on

motion filed by such party, temporarily allows the Claim in a specific amount for the purpose

of accepting or rejecting the Plan.               Such motion must be heard and determined by the

Bankruptcy Court before the Confirmation Hearing on the Plan. A vote may be disregarded if

the Bankruptcy Court determines that the Claimholders acceptance or rejection was not

solicited or procured in good faith or in accordance with the applicable provisions of the

Bankruptcy Code. Ballots must be filed in the Case, which can be accomplished by sending

completed Ballots to:

           Clerk’s Office - Miami Division
           C. Clyde Atkins United States Courthouse
           T. 305.714.1800
           301 North Miami Avenue, Room 150
           Miami, FL 33128

           With a copy to:

           Nicole Grimal Helmstetter, Esq.
           Counsel to Debtor
           Agentis PLLC
           55 Alhambra Plaza, Suite 800
           Coral Gables, Florida 33134

Ballots sent to Debtor’s Counsel do not constitute filing a proof of Claim or Interest.

           Under Bankruptcy Code Section 1126(f), a class that is not Impaired under a Chapter

11 plan, and each Holder of a Claim or Interest in such class, are conclusively presumed to

have accepted the Chapter 11 plan. Under Bankruptcy Code Section 1126(g), a class is

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    Administrative Claims are not impaired and therefore not entitled to vote.
                                                           30


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deemed not to have accepted a Chapter 11 plan if the Holders of Claims or Interests in such

class do not receive or retain any property under the Chapter 11 Plan on account of such

Claims or Interests. Holders of Claims or Interests that are Unimpaired under the Plan, or that

are not entitled to receive or retain any property under the Plan, are not entitled to vote to

accept or reject the Plan. The Debtor will not be soliciting votes from such Claimholders or

Interest-holders.

       C.       Bar Date for Filing Proofs Claim. The Bankruptcy Court established March

16, 2020 as the general deadline for filing proofs of Claim in the Chapter 11 Case (called the

“Claims Bar Date”) with the following exceptions: (i) in the event that the Debtor amends its

Schedules of Assets and Liabilities, the Debtor must give notice of such amendment to the

Creditor affected thereby, and the affected Creditor shall have until the later of the Claims Bar

Date or thirty (30) days from the date on which notice of such amendment was given to file a

proof of Claim; (ii) in the event that a Claim arises with respect to the Debtor’s rejection of an

executory contract or unexpired lease, any Creditor shall have until the later of the Claims Bar

Date or thirty (30) days after the entry of any Order authorizing the rejection of the executory

contract or unexpired lease to file a proof of Claim.

       D.       Definition of Impairment. Under Bankruptcy Code section 1124, a class of

Claims or Interests is Impaired under a plan of reorganization unless, with respect to each

Claim or Interests of such class, the Plan:

                1.      leaves unaltered the legal, equitable, and contractual rights of the holder
                        of such Claim or interest; or

                2.      notwithstanding any contractual provision or applicable law that entitles
                        the holder of a Claim or interest to receive accelerated payment of such
                        Claim or interest after the occurrence of a default:


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                3.      cures any such default that occurred before or after the commencement
                        of the case under the Bankruptcy Code, other than a default of a kind
                        specified in Bankruptcy Code section 365(b)(2);

                4.      reinstates the maturity of such Claim or interest as it existed before the
                        default;

                5.      compensates the holder of such Claim or interest for damages incurred
                        as a result of reasonable reliance on such contractual provision or
                        applicable law; and

                6.      does not otherwise alter the legal, equitable, or contractual rights to
                        which such Claim or interest entitles the holder of such Claim or
                        interest.

       E.       Disallowed Claims. All Claims held by persons against whom the Debtor has

commenced a proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547,

548, 549, and/or 550 of the Bankruptcy Code, shall be deemed “Disallowed Claims” pursuant

to section 502(d) of the Bankruptcy Code and Holders of such Claims shall not be entitled to

vote to accept or reject the Plan. Claims that are deemed Disallowed pursuant to this Section

shall continue to be disallowed for all purposes until the avoidance action against such party

has been settled or resolved by Final Order and any sums due to the Debtor from such party

have been paid.

       F.       Acceptance by Class of Claimholders. A Class of Claimholders is deemed to

have accepted the Plan, if the Plan is accepted by at least two-thirds (2/3) in amount and more

than one-half (2) in number of the Allowed Claims of such Class which actually cast votes.

       G.       Cramdown. In the event that any Impaired Class of Claimholders with

Claims against the Debtor fail to accept the Plan in accordance with § 1129(a) of the

Bankruptcy Code, the Debtor will request the Bankruptcy Court to confirm the Plan in

accordance with § 1129(b) of the Bankruptcy Code (“Cramdown Provisions”).                                 For

purposes of seeking Confirmation of the Plan under the Cramdown Provisions, the
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Debtor reserves the right to modify or vary the terms of the Plan or the treatment of the

Claims of those Classes that rejected the Plan so as to comply with the requirements of

the Cramdown Provisions.

       Unsecured creditors are Impaired under the Plan. In the event that unsecured creditors

do not vote in favor of the Plan, the Debtor will seek to confirm the Plan over the “no” vote of

the unsecured creditors or “cramdown.” Notwithstanding such a possible “no” vote, the

Debtor believes that the Plan is fair and equitable and gives unsecured creditors a greater

return than they would receive if the Debtor were liquidated. If the Debtor is liquidated,

unsecured creditors would receive nothing on account of their Claims as all of the Debtor’s

property would be liquidated for the benefit of the Allowed Secured Claims alone.

       H.       Classes Impaired Under the Plan

       The following Classes are Impaired under the Plan: Class 1 and Class 2.

       I.       Vote Required for Class Acceptance.

       The Bankruptcy Code defines acceptance of a plan by a class of creditors as acceptance

by holders of at least two-thirds in dollar amount and more than one-half in number of the

Claims of that class that actually cast Ballots for acceptance or rejection of the plan; that is,

acceptance takes place only if creditors holding Claims constituting at least two-thirds in dollar

amount of the total amount of Claims and more than one-half in number of the creditors

actually voting cast their Ballots in favor of acceptance.

       The Bankruptcy Code defines acceptance of a plan by a class of interests as acceptance

by holders of at least two-thirds in amount of the allowed interests of that class.




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       J.       Information on Voting and Ballots.

                1.      Transmission of Ballots to Claimholders

       Ballots are being forwarded to Claimholders in Classes 1 and 2 of the Plan, and in

accordance with the Bankruptcy Rules, an order approving the Disclosure Statement and the

Solicitation Procedures Order. Those Claimholders whose Claims are Unimpaired under the

Plan are conclusively presumed to have accepted the Plan under Bankruptcy Code

Section 1126(f), and therefore need not vote concerning the Plan. Under Bankruptcy Code

Section 1126(g), Claimholders who do not either receive or retain any property under the Plan

are deemed to have rejected the Plan.

                2.      Ballot Tabulation Procedures.

       Pursuant to the Solicitation Procedures Order, the amount and classification of a Claim

and the procedures that will be used to tabulate acceptances and rejections of the Plan shall be

exclusively as follows: any timely received Ballot that contains sufficient information to permit

the identification of the Claimant and is cast as an acceptance or rejection, as the case may be,

of the Plan, subject to the following exceptions and clarifications:

                        a.       If a Claim is deemed Allowed in accordance with the Plan, such

Claim is allowed for voting purposes in the deemed allowed amount set forth in the Plan;

                        b.       If a Claim has been established or otherwise allowed for voting

purposes by Order of the Bankruptcy Court, such Claim is temporarily allowed in the amount

so estimated or allowed by the Bankruptcy Court for voting purposes only, and not for

purposes of allowance or distribution;

                        c.       If a Claim is listed in the Schedules as contingent, unliquidated,

or disputed and a proof of Claim was not (i) filed by the applicable deadline to file proofs of
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Claim or (ii) deemed timely filed by an order of the Bankruptcy Court prior to the Voting

Deadline, the Claim will be disallowed in its entirety for voting purposes;

                          d.     For all persons or entities who timely filed a proof of Claim

reflecting a Claim or portion of a Claim that is contingent or if a Claim objection is pending,

the Claim shall be disallowed in its entirety for voting purposes, subject to the right of such

Holder to file a motion for temporary allowance;

                          e.     If a Ballot is properly completed, executed and timely filed, but

does not indicate an acceptance or rejection of the Plan, or indicates both an acceptance and

rejection of the Plan, the Ballot will not be counted;

                          f.     If a proof of Claim has been timely filed and has not been

objected to before the Confirmation Hearing, the voted amount of that Claim shall be the

liquidated amount specified in the proof of Claim; and

                          g.     If no proof of Claim has been timely filed, the voted amount of a

Claim shall be equal to the amount listed for the particular Claim in the Schedules, as and if

amended, to the extent such Claim is not listed as contingent, unliquidated, or disputed, and the

Claim shall be placed in the appropriate Class based on the Debtor’s records and consistent

with the Schedules.

       Ballots that fall within the following categories will not be counted or considered for

any purpose in determining whether the Plan has been accepted or rejected, except as specified:

                          h.     Any Ballot received after the Voting Deadline unless the Debtor

or Bankruptcy Court shall have granted an extension in writing of the Voting Deadline with

respect to such Ballot;



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                        i.       Any Ballot that is illegible or contains insufficient information to

permit the identification of the Claimant;

                        j.       Any Ballot cast by a person or entity that does not hold a Claim

in a Class that is entitled to vote to accept or reject the Plan as of the Voting Record Date;

                        k.       Any duplicate Ballot;

                        l.       Any Ballot that is unsigned, or signed by someone other than the

Holder of the Claim (or the Claimholders authorized representative); or

                        m.       Any acceptance or rejection submitted on something other than

the Ballot form provided by the Debtor and approved pursuant to the Solicitation Procedures

Order.

         The Debtor believes that the foregoing proposed procedures provide for a fair and

equitable voting process.       As mentioned above, if any Claimant seeks to challenge the

allowance of its Claim for voting purposes, such creditor must serve on the Debtor and file

with the Court a motion requesting the temporary allowance of such Claim in a different

amount for purposes of voting to accept or reject the Plan no later than _________, 2020. The

Ballot of any Claimant filing such a motion shall not be counted unless temporarily allowed by

the Bankruptcy Court for voting purposes, after notice and a hearing.

         Whenever two (2) or more Ballots are cast voting the same Claim prior to the Voting

Deadline, the latest dated Ballot received prior to the Voting Deadline will be deemed to reflect

the voter’s intent and thus to supersede any prior Ballots, provided, however, that where an

ambiguity exists as to which Ballot reflects the voter’s intent, the Clerk of the Bankruptcy

Court reserves the right to contact the Claimant and calculate the vote according to such voter’s

written instructions. This procedure is without prejudice to the Debtor’s right to object to the
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validity of the second Ballot on any basis permitted by law and, if the objection is sustained, to

count the first Ballot for all purposes. This procedure of counting the last Ballot is consistent

with practice under various state and federal corporate and securities laws. Furthermore, the

Debtor proposes that in its sole discretion they can agree to allow a Claimant to change its vote

after the Voting Deadline without further order of the Bankruptcy Court.

        Claim splitting is not permitted and Claimants who vote must vote all of their Claims

within a particular class to either accept or reject the Plan.

                                       ARTICLE VIII.
                                   CONFIRMATION OF PLAN

        A.      Solicitation of Acceptances.

        The Debtor is soliciting your vote.

        NO REPRESENTATIONS OR ASSURANCES, IF ANY, CONCERNING
        THE DEBTOR OR THE PLAN ARE AUTHORIZED BY THE DEBTOR,
        OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT
        AND IN ANY SOLICITATION MATERIALS APPROVED BY THE
        BANKRUPTCY     COURT.   ANY     REPRESENTATIONS    OR
        INDUCEMENTS MADE BY ANY PERSON TO SECURE YOUR VOTE,
        OTHER THAN THOSE CONTAINED IN THIS DISCLOSURE
        STATEMENT, SHOULD NOT BE RELIED ON BY YOU IN ARRIVING
        AT    YOUR    DECISION,    AND     SUCH    ADDITIONAL
        REPRESENTATIONS OR INDUCEMENTS SHOULD BE REPORTED
        TO DEBTOR’S COUNSEL FOR APPROPRIATE ACTION.

        THIS IS A SOLICITATION SOLELY BY THE DEBTOR, AND IS NOT
        A SOLICITATION BY ANY SHAREHOLDER, ATTORNEY,
        ACCOUNTANT, OR OTHER PROFESSIONAL FOR THE DEBTOR.
        THE REPRESENTATIONS, IF ANY, MADE IN THIS DISCLOSURE
        STATEMENT ARE THOSE OF THE DEBTOR AND NOT OF SUCH
        SHAREHOLDERS, ATTORNEYS, ACCOUNTANTS, OR OTHER
        PROFESSIONALS,    EXCEPT    AS   MAY   BE   OTHERWISE
        SPECIFICALLY AND EXPRESSLY INDICATED.

        Under the Bankruptcy Code, a vote for acceptance or rejection of a plan may not be

solicited unless the Claimant has received a copy of a disclosure statement approved by the

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Bankruptcy Court prior to, or concurrently with, such solicitation. This solicitation of votes on

the Plan is governed by Bankruptcy Code Section 1125(b). Violation of Bankruptcy Code

Section 1125(b) may result in sanctions by the Bankruptcy Court, including disallowance of

any improperly solicited vote.

        B.      Requirements for Confirmation of the Plan.

        At the confirmation hearing, the Bankruptcy Court shall determine whether the

requirements of Bankruptcy Code Section 1129 have been satisfied, in which event the

Bankruptcy Court shall enter an order confirming the Plan. For the Plan to be confirmed,

Bankruptcy Code Section 1129 requires that:

                1.      The Plan complies with the applicable provisions of the Bankruptcy

Code;

                2.      The Debtor has complied with the applicable provisions of the

Bankruptcy Code;

                3.      The Plan has been proposed in good faith and not by any means

forbidden by law;

                4.      Any payment or distribution made or promised by the Debtor or by a

person issuing securities or acquiring property under the Plan for services or for costs and

expenses in connection with the Plan has been disclosed to the Bankruptcy Court, and any such

payment made before the confirmation of the Plan is reasonable, or if such payment is to be

fixed after confirmation of the Plan, such payment is subject to the approval of the Bankruptcy

Court as reasonable;

                5.      The Debtor has disclosed the identity and affiliation of any individual

proposed to serve, after confirmation of the Plan, as a director, officer or voting trustee of the
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Debtor, an affiliate of the Debtor participating in a joint plan with the Debtor, or a successor to

the Debtor under the Plan; the appointment to, or continuance in, such office of such individual

is consistent with the interest of Claimholders and Interest-holders and with public policy; and

the Debtor has disclosed the identity of any insider that will be employed or retained post-

confirmation and the nature of any compensation for such insider;

                6.      Any government regulatory commission with jurisdiction (after

confirmation of the Plan) over the rates of the Debtor has approved any rate change provided

for in the Plan, or such rate change is expressly conditioned on such approval;

                7.      With respect to each Impaired Class of Claims or Interests, either each

holder of a Claim or Interest of the Class has accepted the Plan, or will receive or retain under

the Plan on account of that Claim or Interest, property of a value, as of the Effective Date of

the Plan, that is not less than the amount that such holder would so receive or retain if the

Debtor was liquidated on such date under chapter 7 of the Bankruptcy Code. If Bankruptcy

Code Section 1111(b)(2) applies to the Claims of a Class, each holder of a Claim of that Class

will receive or retain under the Plan on account of that Claim property of a value, as of the

Effective Date, that is not less than the value of that holder’s interest in the Debtor’s interest in

the property that secures that Claim;

                8.      Each Class of Claims or Interests has either accepted the Plan or is not

Impaired under the Plan;

                9.      Except to the extent that the holder of a particular Allowed

Administrative Expense Claim, or Allowed Wage Claim has agreed to a different treatment of

its Claim, the Plan provides that such Claims shall be paid in full on the later of the Effective



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Date or the date on which such Claim becomes an Allowed Claim, or as soon as practicable

thereafter;

                 10.    If a Class of Claims or Interests is Impaired under the Plan, at least one

such Class of Claims or Interests has accepted the Plan, determined without including any

acceptance of the Plan by any insider holding a Claim or Interest of that Class; and,

                 11.    Confirmation of the Plan is not likely to be followed by the liquidation

or the need for further financial reorganization of the Debtor or any successor to the Debtor

under the Plan, unless such liquidation or reorganization is proposed in the Plan.

        The Debtor believes that the Plan satisfies all of the statutory requirements of the

Bankruptcy Code for Confirmation and that the Plan was proposed in good faith. The Debtor

believes it has complied, or will have complied, with all the requirements of the Bankruptcy

Code governing confirmation of the Plan.

        C.       Acceptances Necessary to Confirm the Plan.

        Voting on the Plan by each holder of a Claim (or its authorized representative) is

important. Chapter 11 of the Bankruptcy Code does not require that each holder of a Claim

vote in favor of the Plan in order for the Bankruptcy Court to confirm the Plan. Generally, to

be confirmed under the acceptance provisions of Bankruptcy Code Section 1126(a), the Plan

must be accepted by each Class of Claims that is Impaired under the Plan by parties holding at

least two-thirds in dollar amount and more than one-half in number of the Allowed Claims of

such Class actually voting in connection with the Plan. Even if all Classes of Claims accept

the Plan, the Bankruptcy Court may nonetheless refuse to confirm the Plan.

        D.       Cramdown.



                                                     40


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       In the event that any Impaired Class of Claims does not accept the Plan, the Bankruptcy

Court may still confirm the Plan at the request of the Debtor if, as to each Impaired Class that

has not accepted the Plan, the Plan “does not discriminate unfairly” and is “fair and equitable.”

A Chapter 11 plan does not discriminate unfairly within the meaning of the Bankruptcy Code

receives more than it is legally entitled to receive for its Claims or interests. “Fair and

equitable” has different meanings for holders of secured and unsecured Claims and interests.

With respect to a secured Claim, “fair and equitable” means either (i) the Impaired secured

creditor retains its liens to the extent of its Allowed Claim and receives deferred cash payments

at least equal to the allowed amount of its Claims with a present value as of the Effective Date

of the Plan at least equal to the value of such creditor’s interest in the property securing its

liens; (ii) property subject to the lien of the Impaired secured creditor is sold free and clear of

that lien, with that lien attaching to the proceeds of sale, and such lien proceeds must be treated

in accordance with clauses (i) and (iii) hereof; or (iii) the Impaired secured creditor realizes the

“indubitable equivalent” of its Claim under the Plan.

       With respect to an unsecured Claim, “fair and equitable” means either (i) each Impaired

creditor receives or retains property of a value equal to the amount of its Allowed Claim or (ii)

the holders of Claims or interests that are junior to the Claims of the dissenting class will not

receive any property under the Plan.

       With respect to Interests, “fair and equitable” means either (i) each Impaired Interest

receives or retains, on account of that Interest, property of a value equal to the greater of the

allowed amount of any fixed liquidation preference to which the holder is entitled, any fixed

redemption price to which the holder is entitled, or the value of the Interest, or (ii) the holder of



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any Interest that is junior to the Interest of that Class will not receive or retain under the Plan,

on account of that junior Interest, any property.

        The Debtor believes that the Plan does not discriminate unfairly and is fair and

equitable with respect to each Impaired Class of Claims and Interests. In the event at least one

Class of Impaired Claims or Interests rejects or is deemed to have rejected the Plan, the

Bankruptcy Court will determine at the Confirmation Hearing whether the Plan is fair and

equitable and does not discriminate unfairly against any rejecting Impaired Class of Claims or

Interest.

        In this case the Debtor is proposing a total distribution of approximately five percent

(5%) percent to Class 2. Unsecured creditors are, therefore, Impaired under the Plan. In the

event that unsecured creditors do not vote in favor of the Plan, the Debtor will seek to confirm

the Plan over the “no” vote of the unsecured creditors or “cramdown.” Notwithstanding such a

possible “no” vote, the Debtor believes that the Plan is fair and equitable and gives unsecured

creditors a greater return than they would receive if the Debtor were liquidated. If the Debtor

is liquidated, unsecured creditors would receive nothing on account of their Claims as all of the

Debtor’s property would be liquidated for the benefit of the Allowed Secured Claims alone.

Accordingly, the Plan is in the best interests of all of its creditors.

        E.      Execution of Ballots by Representatives.

        Federal Rule of Bankruptcy Procedure 3018(c) requires that an acceptance or rejection

of a Chapter 11 Plan shall be in writing, identifying the plan accepted or rejected, and be

signed by the creditor or equity security holder or an authorized agent. The Ballot approved by

the Solicitation Procedure Order requires the identification of persons signing in a fiduciary or

representative capacity.     To be counted, completed Ballots signed by trustees, executors,
                                                     42


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administrators, guardians, attorneys-in-fact, officers of corporations, or others acting in a

fiduciary or representative capacity must indicate their capacity when signing. At the Debtor’s

request, Ballot signatories must submit proper evidence, satisfactory to the Debtor of his or her

authority to so act. Failure to indicate the capacity of the signatory to the Ballot may result in

the Ballot being deemed invalid and not counted.

       F.       Waivers of Defects and Other Irregularities Regarding Ballots.

       Unless otherwise directed by the Bankruptcy Court, all questions concerning the

validity, form, eligibility (including time of receipt), acceptance, and revocation or withdrawal

of Ballots will be determined by the Debtor in its sole discretion, whose determination will be

final and binding. The Debtor reserves the right to reject any and all Ballots not in proper form,

the acceptance of which would, in the opinion of the Debtor or its counsel, be unlawful. Any

defects or irregularities in connection with deliveries of Ballots must be cured within such time

as the Bankruptcy Court determines. Neither the Debtor, the Clerk of the Bankruptcy Court,

nor any other person will be under any duty to provide notification of defects or irregularities

with respect to deliveries of Ballots, nor will any of them incur any liability for failure to

provide such notification; provided, however, that the Debtor and/or Clerk of the Bankruptcy

Court will indicate on the Ballot summary the Ballots, if any, that were not counted, and will

provide the original of such Ballots with the original of the Ballot summary at the

Confirmation Hearing. Unless otherwise directed by the Bankruptcy Court, delivery of such

Ballots will not be deemed to have been made until any irregularities have been cured or

waived. Unless otherwise directed by the Bankruptcy Court, Ballots previously furnished, and

as to which any irregularities have not subsequently been cured or waived, will be invalidated.

       G.       Withdrawal of Ballots and Revocation.
                                                     43


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       Except as otherwise directed by the Bankruptcy Court after notice and a hearing, any

holder of a Claim (or its authorized representative) in an Impaired Class who has delivered a

valid Ballot for the acceptance or rejection of the Plan to the Clerk of the Bankruptcy Court

may withdraw such Ballot at any time before the Voting Deadline.

       To be valid, a notice of withdrawal must:

                1.      Contain the description of the Claims to which it relates and the

aggregate principal amount or number of shares represented by such Claims;

                2.      Be signed by the Creditor (or its authorized representative) in the same

manner as the Ballot; and

                3.      Be received by the Clerk of the Bankruptcy Court in a timely manner at

the address specified in the Ballot instructions for the submission of Ballots with a copy to

Debtor’s undersigned counsel.

       The Debtor expressly reserves the absolute right to contest the validity of any such

withdrawals of Ballots.

       Unless otherwise directed by the Bankruptcy Court, a purported notice of withdrawal of

Ballots that is not received in a timely manner by the Clerk of the Bankruptcy Court and

Debtor’s counsel will not be effective to withdraw a previously furnished Ballot.

       Any creditor (or its authorized representative) who has previously submitted a properly

completed Ballot before the Voting Deadline may revoke such Ballot and change its vote by

submitting before the Voting Deadline a subsequent, properly completed Ballot for acceptance

or rejection of the Plan. In addition, if a Creditor submits a valid notice of withdrawal prior to

the Voting Deadline, such holder may submit a new Ballot, and such Ballot will be counted so



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long as it is received prior to the Voting Deadline and is otherwise submitted in accordance

with the order approving the Disclosure Statement.

                             ARTICLE IX.
             EFFECTS OF CONFIRMATION OF PLAN AND DISCHARGE

       A.       Discharge of Debt. Upon the Effective Date, the Debtor shall be fully and

completely discharged to the fullest extent permitted by Sections 1141 and 524 of the

Bankruptcy Code, from all Claims, debts and liabilities against the Debtor arising before the

Effective Date, except as specifically provided for by the Plan.

       B.       Releases. As of the Effective Date, except for the Debtor’s express

obligations respecting distributions herein and Claims reserved by the Debtor to be

pursued under the Plan, the Debtor and the Reorganized Debtor are hereby released and

discharged from any and all Claims, causes of action, demands, liabilities, losses,

damages, whether known or unknown, under federal, state or other law, that arose after

the Petition Date and prior to the Effective Date in connection with any matter arising

from or relating to the Debtor, except for any acts or omissions resulting from willful

misconduct, fraud, or gross negligence.

       C.       Injunction. Commencing on the Effective Date, all persons who hold or who

have held a Claim or Interest in the Debtor shall be permanently enjoined from commencing or

continuing any action, employment of process, or act to collect, offset, avoid or recover any

Claim against the Debtor, except as otherwise provided under the Plan.

       D.       Rejection and Assumption of Certain Executory Contracts and Unexpired

Leases.      The Debtor has no unexpired leases, however, the Debtor currently has 89

independent contractor agreements with therapists. All executory contracts are deemed rejected

                                                     45


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upon entry of the order confirming this Plan, unless otherwise expressly assumed. The Debtor

reserves the right to file motions for the assumption at any time prior to the Confirmation Date

and to prosecute any such motion to entry of a Final Order anytime thereafter.

Various Independent Contractor Agreements:

                                                  Term
 #      Party Name and Address                                      Description of Contract or Lease
                                               Remaining
1    2K Associates, LLC                      No expiration.         Professional services agreement.
     21221 SW 125 Path
     Miami FL 33177-0000
2    A Listening Space Corp.                 No expiration.         Professional services agreement.
     711 Biltmore Way, Apt. 202
     Miami FL 33134-0000
3    A.A.A. Care Services, Corp.             No expiration.         Professional services agreement.
     6090 SW 22nd Street
     Miami FL 33155-0000
4    ABA & Counseling Works,                 No expiration.         Professional services agreement.
     LLC
     186 NE 106th St.
     Miami FL 33138-0000
5    ABA for Autism, Corp.                   No expiration.         Professional services agreement.
     5230 W 26 Court
     Hialeah FL 33016-0000
6    ABA for Kids Work, Corp.                No expiration.         Professional services agreement.
     7150 SW 23 Street
     Miami FL 33155-0000
7    ABMG Behavioral Services,               No expiration.         Professional services agreement.
     LLC
     5665 W 20 AVE APT 302
     Hialeah FL 33012-0000
8    AC Behavioral Services, LLC             No expiration.         Professional services agreement.
     4880 NW 177 St.
     Opa Locka FL 33055-0000
9    AC Medical Services, Inc.               No expiration.         Professional services agreement.
     2001 SW 84 Avenue
     Miami FL 33155-0000
10   Adaptive Therapy, LLC                   No expiration.         Professional services agreement.
     1841 West 73rd Place
     Hialeah FL 33014-0000
11   Alcanzando Estrellas, LLC               No expiration.         Professional services agreement.
     3650 NW 36 Street APT 406
     Miami FL 33142-0000
                                                     46


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                                                  Term
#       Party Name and Address                                      Description of Contract or Lease
                                               Remaining
12   Alex & Isa Services, LLC                No expiration.         Professional services agreement.
     649 E 32 Street
     Hialeah FL 33013-0000
13   Alexa Health, Corp.                     No expiration.         Professional services agreement.
     11470 SW 57th Street
     Miami FL 33173-0000
14   All Hands for Help Corp.                No expiration.         Professional services agreement.
     10772 SW 228 Terr.
     Miami FL 33170-0000
15   Alonso Therapy Services, Corp.          No expiration.         Professional services agreement.
     5612 NW 3 Street
     Miami FL 33126-0000
16   Angels Dream, LLC                       No expiration.         Professional services agreement.
     7632 NW 3 Street
     Miami, FL 33126
17   Bady Kids Support, Corp.                No expiration.         Professional services agreement.
     10201 Fontainebleau Blvd APT
     202
     Miami, FL 33172
18   Behavior and Parenting Care,            No expiration.         Professional services agreement.
     Corp.
     45 SW 63rd Court
     Miami, FL 33144
19   Behavior and Wellness, Corp.            No expiration.         Professional services agreement.
     7042 W 30 Avenue
     Hialeah, FL 33018
20   Behavior Therapist Services,            No expiration.         Professional services agreement.
     LLC
     210 Fontainbleau Blvd APT
     413
     Miami, FL 33172
21   Blanca Therapy Services, Corp.          No expiration.         Professional services agreement.
     7550 South Waterway Drive
     Miami, FL 33155
22   Brain Connect Aba Therapy,              No expiration.         Professional services agreement.
     Inc.
     45 SW 63rd Court
     Miami, FL 33144
23   Bright Therapy Solution, Inc.           No expiration.         Professional services agreement.
     20721 SW 116 Road
     Miami, FL 33189


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                                                  Term
#       Party Name and Address                                      Description of Contract or Lease
                                               Remaining
24   Canela Therapy Services, LLC            No expiration.         Professional services agreement.
     16620 SW 44 Street
     Miami, FL 33185
25   Carmen Sahagun                          No expiration.         Professional services agreement.
     4808 Queen Palm Lane
     Fort Lauderdale, FL 33319
26   Castillo Behavior, Inc.                 No expiration.         Professional services agreement.
     3845 SW 103 Avenue APT 223
     C
     Miami, FL 33165
27   Castillo Learning, LLC                  No expiration.         Professional services agreement.
     3845 SW 103rd Avenue APT
     223C
     Miami, FL 33165
28   Change Therapy Services,                No expiration.         Professional services agreement.
     Corp.
     9246 NW 120th Terrace
     Hialeah, FL 33018
29   Coira Therapy Services, Corp.           No expiration.         Professional services agreement.
     423 E 27th Street
     Hialeah, FL 33013
30   DCM Behavior Therapy, Inc.              No expiration.         Professional services agreement.
     11521 SW 81st Terrace
     Miami, FL 33173
31   Delarue Services, Corp.                 No expiration.         Professional services agreement.
     8204 SW 176th Terrace
     Miami, FL 33157
32   Dreaming In Blue, Corp.                 No expiration.         Professional services agreement.
     8420 SW 154th Circle Court
     APT 536
     Miami, FL 33193
33   Duque-Dimart Therapy, Inc.              No expiration.         Professional services agreement.
     8988 SW 40th Terrace
     Miami, FL 33165
34   Estevez Therapy Services,               No expiration.         Professional services agreement.
     Corp.
     423 East 27th STreet
     Hialeah, FL 33013
35   Felipe Therapy Services, LLC            No expiration.         Professional services agreement.
     165 SW 48th Court
     Miami, FL 33134


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                                                  Term
#       Party Name and Address                                      Description of Contract or Lease
                                               Remaining
36   Fiol Behavior Therapy, Corp.            No expiration.         Professional services agreement.
     17880 SW 107th Avenue APT
     2
     Miami, FL 33157
37   First Kids Therapy, Corp.               No expiration.         Professional services agreement.
     9228 West 33 Way
     Hialeah, FL 33018
38   GC Behavior, Inc.                       No expiration.         Professional services agreement.
     6420 NW 114th Avenue APT
     1332
     Miami, FL 33178
39   Gracie & Lily Services, Corp.           No expiration.         Professional services agreement.
     527 East 21 Street APT 5
     Hialeah, FL 33013
40   H & F Therapy Services, Inc.            No expiration.         Professional services agreement.
     11520 SW 81st Terrace
     Miami, FL 33173
41   Happy Growing, LLC                      No expiration.         Professional services agreement.
     555 NW 72nd Avenue APT 201
     Miami, FL 33126
42   HBB Harmony Balance Brain,              No expiration.         Professional services agreement.
     Corp.
     45 SW 63rd Court
     Miami, FL 33144
43   Heviamador, Inc.                        No expiration.         Professional services agreement.
     10811 SW 164 ST
     Miami, FL 33157
44   Integrity First Solution, Inc.          No expiration.         Professional services agreement.
     3660 SW 16 Terr., Apt 11
     Miami, FL 33145
45   J & J Behavior Services, Corp.          No expiration.         Professional services agreement.
     211 East 51st Street
     Hialeah, FL 33013
46   Kety Lopez LMHC, Inc.                   No expiration.         Professional services agreement.
     850 N Miami Ave., Apt W908
     Miami, FL 33136
47   KP Advance Group, LLC                   No expiration.         Professional services agreement.
     890 SW 154 Path
     Miami, FL 33194
48   L & L Behavior Development,             No expiration.         Professional services agreement.
     Corp
     2110 SW 82nd Avenue
     Miami, FL 33155
                                                     49


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                                                  Term
#       Party Name and Address                                      Description of Contract or Lease
                                               Remaining
49   L&A Behavioral Services, Inc.           No expiration.         Professional services agreement.
     3900 SW 88th Place APT 18
     Miami, FL 33165
50   LAI Behaviour Analysis, Inc.            No expiration.         Professional services agreement.
     981 NW 132 AVE
     Miami, FL 33182
51   Lauren Therapy Services, LLC            No expiration.         Professional services agreement.
     2940 SW 102nd Avenue APT
     F-211
     Miami, FL 33165
52   Leas Behavioral Services, LLC           No expiration.         Professional services agreement.
     12021 SW 176th Terrace
     Miami, FL 33177
53   Light Of Life Baez, Corp.               No expiration.         Professional services agreement.
     20731 NW 28th Avenue
     Opa Locka, FL 33056
54   Lissets Behaviors Services,             No expiration.         Professional services agreement.
     Corp.
     17485 NW 67th Court APT L
     Hialeah, FL 33015
55   Love and Therapy, LLC                   No expiration.         Professional services agreement.
     14321 SW 88th Street APT F
     Miami, FL 33186
56   M & Y Therapy Services, Inc.            No expiration.         Professional services agreement.
     11044 SW 156 CT
     Miami, FL 33196
57   MCE Behavior Therapy, LLC               No expiration.         Professional services agreement.
     630 SW 49th Avenue
     Miami, FL 33134
58   MEGR Services Corp.                     No expiration.         Professional services agreement.
     2370 NW 17th Avenue APT
     209
     Miami, FL 33142
59   Melinda Clark, LLC                      No expiration.         Professional services agreement.
     50 SW 10th Street, Apt. 1306
     Miami, FL 33130
60   Mendez Aba Services, Corp.              No expiration.         Professional services agreement.
     11507 SW 6th Street
     Miami, FL 33174
61   Mothera, Inc.                           No expiration.         Professional services agreement.
     10443 SW 225 Terrace
     Miami, FL 33190

                                                     50


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                                                  Term
#       Party Name and Address                                      Description of Contract or Lease
                                               Remaining
62   Numa Services, Inc.                     No expiration.         Professional services agreement.
     18218 SW 154 CT
     Miami, FL 33187
63   Okmind, LLC                             No expiration.         Professional services agreement.
     2221 SW 69th Avenue
     Miami, FL 33155
64   Olivera Care Group LLC                  No expiration.         Professional services agreement.
     212 NW 58th Avenue
     Miami, FL 33126
65   Oneironautics, LLC                      No expiration.         Professional services agreement.
     7231 SW 142nd Avenue
     Miami, FL 33183
66   Our Child Behavior, Inc.                No expiration.         Professional services agreement.
     19310 NW 82nd Court
     Hialeah, FL 33015
67   Pereira's Health Solutions, Inc.        No expiration.         Professional services agreement.
     12350 SW 36th Street
     Miami, FL 33175
68   Pesant Herapeutics, Inc.                No expiration.         Professional services agreement.
     711 Biltmore Way, Unit 403
     Miami, FL 33134
69   Pou Therapy Services, Inc.              No expiration.         Professional services agreement.
     8333 Lake Dr., #105
     Miami, FL 33166
70   Raiza Therapy Services, LLC             No expiration.         Professional services agreement.
     1625 NW 129th Street
     Miami, FL 33167
71   Retos, LLC                              No expiration.         Professional services agreement.
     14791 SW 138th Terrace
     Miami, FL 33196
72   Rosmery Services, Corp.                 No expiration.         Professional services agreement.
     5130 East 10th Avenue
     Hialeah, FL 33013
73   S & J ABA Service, LLC                  No expiration.         Professional services agreement.
     10031 W 35th Ln.
     Hialeah, FL 33018
74   Secure Minds, LLC                       No expiration.         Professional services agreement.
     3550 NW 85th Ct., Apt 134
     Miami, FL 33122




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                                                  Term
#       Party Name and Address                                      Description of Contract or Lease
                                               Remaining
75   Sensory Behavior, Inc.                  No expiration.         Professional services agreement.
     15081 Woodrich Bent CT., Apt.
     416
     Fort Myers, FL 33908
76   Serendipity Services, Corp.             No expiration.         Professional services agreement.
     4832 SW 135th Place
     Miami, FL 33175
77   Shanaya Ruiz                            No expiration.         Professional services agreement.
     10031 W 35th Lane
     Hialeah, FL 33018
78   Sotomayor Behavioral Services,          No expiration.         Professional services agreement.
     LLC
     11611 SW 123 Ave.
     Miami, FL 33186
79   Step Up Behavioral Therapy              No expiration.         Professional services agreement.
     Center, LLC
     890 SW 154 Path
     Miami, FL 33194
80   T & R Franco, Corp.                     No expiration.         Professional services agreement.
     10910 NE 9th Court
     Miami, FL 33161
81   Top Excellence Services, Inc.           No expiration.         Professional services agreement.
     11501 SW 132nd Avenue
     Miami, FL 33186
82   Vega Aba Services Corp.                 No expiration.         Professional services agreement.
     2256 SW 16th Terrace
     Miami, FL 33145
83   VR Solutions Behavior                   No expiration.         Professional services agreement.
     4040 SW 153rd Place
     Miami, FL 33185
84   W&J Samuell, Corp.                      No expiration.         Professional services agreement.
     15231 SW 8th Street APT 302
     Miami, FL 33193
85   X Therapy Services, Inc.                No expiration.         Professional services agreement.
     2100 SW 84th Ave
     Miami, FL 33155
86   Yanay Guerra Counseling, Inc.           No expiration.         Professional services agreement.
     5970 Indian Creek Dr., Apt.
     306
     Miami Beach, FL 33140
87   YBA Global, Inc.                        No expiration.         Professional services agreement.
     5271 SW 8TH St., Apt. 413
     Miami, FL 33134
                                                     52


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                                                  Term
 #      Party Name and Address                                      Description of Contract or Lease
                                               Remaining
88   Your Child Behavior                     No expiration.         Professional services agreement.
     Counseling, Inc.
     7120 Fairway Drive APT L5
     Hialeah, FL 33014
89   YPH Therapy Services Corp.              No expiration.         Professional services agreement.
     8356 NW 10th Street
     Miami, FL 33126

       E.       Management of Reorganized Debtor.

       Upon Confirmation of the Plan, Sofia Aneas will continue as President of the

Reorganized Debtor.

                                 ARTICLE X.
               POSSIBLE CAUSES OF ACTION AFTER CONFIRMATION

       The Debtor reserves the right to commence or continue to prosecute any and all Causes

of Action which are unresolved during the pendency of this Bankruptcy Case. The Debtor has

reviewed its books and records and is not aware of any other Claim or Cause of Action

accruing to the Debtor, other than the collection of accounts receivable against AHCA and

Wellcare, in the ordinary course of business, including any rights and Claims appurtenant

thereto. The Debtor does not have the financial wherewithal to conduct a fulsome

Avoidance Action analysis pursuant to Section 544 of the Bankruptcy Code. To the extent

any Avoidance Actions exist, the Debtor believes that the targets would likely be the

Debtor’s current creditors. Accordingly, the Debtor specifically abandons any and all

potential Avoidance Actions.

       Because all investigations and inquiries have not yet been completed, it is possible

that there may be additional Causes of Action not mentioned herein and no party should

assume that any release or discharge provision contained in the Plan, or the

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Confirmation Orders, will bar or otherwise inhibit the Reorganized Debtor from taking

any action to prosecute or enforce such additional Causes of Action, for which the Debtor

preserves the right to pursue. Under the circumstances, it is not feasible or in the best

interests of the Debtor’s Estate or its creditors to allow the continuing investigation to delay

Confirmation of the Plan. Notwithstanding the foregoing, the Debtor is not aware of any

Claim or Cause of Action accruing to the Debtor except the following: (a) the Adversary

Proceeding; and (b) collection of accounts receivables in the ordinary course of business,

including any rights and Claims appurtenant thereto.

                                      ARTICLE XI.
                             TAX IMPLICATIONS OF THE PLAN

       A.       As to Claimholders: The tax consequences of the implementation of the Plan to

a specific Creditor will depend on a number of factors, including whether the Holder’s Claim

constitutes a “security” for federal income tax purposes, whether a Creditor has already taken a

deduction of loss with respect to its Claim and the timing of any distributions under the Plan.

It is possible that certain Holders will recognize gain or income as a result of distributions

under the Plan. There also may be state, local, or foreign tax considerations applicable to

particular Holders of Claims, none of which are discussed herein. Each holder of a Claim or

any other party in interest in this case is strongly urged to consult with their tax advisor

regarding the federal, state, and local income and other tax consequences that the

implementation of this Plan may have on them.

       B.       As to the Reorganized Debtor: As of fiscal year-end December 31, 2019, the

Debtor realized net operating losses of $107,411.00. The Reorganized Debtor is entitled to

carry the net operating losses over. Although the Reorganized Debtor will be able to sustain its

                                                     54


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operations with positive cash flow, no profit will likely be realized until at least three years

post confirmation of the Plan, and only in such modest amounts as to likely result in no net

taxable income to the Debtor that cannot be offset by the carried over net operating losses.

                                                 ARTICLE XII.
                                             LIQUIDATION ANALYSIS

            A plan proponent must demonstrate as a condition of confirmation, that each Impaired

Class of Claimholders will receive as much as it would receive in a Chapter 7 proceeding. A

plan proponent must also demonstrate that the plan is “feasible,” i.e., that confirmation of the

plan is not likely to be followed by the liquidation or need for further financial reorganization

of the Debtor.

            Under Section 1129(a)(7) of the Bankruptcy Code, the Plan must provide that

Claimholders receive as much or more under the Plan than they would receive in a Chapter 7

liquidation of the Debtor. The Debtor asserts that all Claimholders will receive more under the

Plan than they would in liquidation. Attached as “Exhibit C” is the Debtor’s Schedule B,

which shows that, as of the Petition Date, the Debtor’s assets had an approximate value of

$1,515,109.42). A significant amount of the accounts receivable is aged, disputed, and deemed

uncollectible. As of the date of this document, the Debtor believes the following assets would

be available5 to a Chapter 7 Trustee for liquidation in the event of a conversion:

           (1) Cash on hand:                                   $    17,279.00

           (2) Accounts Receivable:                            $1,501,979.00

           (3) Inventory:                                      $     3,000.00

           (4) Furniture, Fixtures, and Equipment:             $     1,190.00


5
    (All rounded up to the nearest dollar)
                                                         55


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         (5) Claim against FL AHCA:                           Unknown6.

          As is evident from comparing the value of the assets with the Claims, Claimholders will

receive more under the Plan than they would receive in a hypothetical Chapter 7. If the Debtor

were to be liquidated through Chapter 7, General Unsecured Creditors would receive nothing.

The Debtor submits this liquidation analysis in order to satisfy the best interest of creditors test

set forth in 11 U.S.C. § 1129(a)(7). If this case were to be converted to Chapter 7, a trustee

would be appointed to marshall and liquidate the assets of the Debtor. A trustee would, in all

likelihood, retain counsel, which would add additional administrative expenses. Substantial

fees could be incurred in obtaining familiarity with the Debtor’s financial dealings already

obtained by professionals retained by the Debtor in connection with the Chapter 11

proceedings. In all likelihood, the trustee would not operate the business of the Debtor. The

trustee would be charged with liquidating accounts receivables and other assets for distribution

to Claimholders. The Debtor believes that upon liquidation, the Estate would not receive assets

sufficient to exceed the proposed distributions under the Plan.                   Accordingly, the Debtor

submits that General Unsecured Creditors stand to gain more benefit from Confirmation of the

Plan than they would in a Chapter 7 liquidation of the Debtor.

                                             ARTICLE XIII.
                                            MISCELLANEOUS

          A.       Modification

          The Debtor reserves the right to revoke or withdraw the Plan in its sole discretion, at

any time before the Confirmation Date, or, if for any reason the Plan cannot be consummated

after the Confirmation Date, at any time up to and including the Effective Date. If the Plan is


6
    Any engagement by a Chapter 7 Trustee to sue AHCA would likely be 100% contingency-based.
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revoked and withdrawn, then (a) nothing contained herein shall be deemed to constitute a

waiver or release of any Claims by or against the Estate or to prejudice in any manner the

rights of any person in any further proceedings in the Chapter 11 Case or otherwise; and, (b)

any provision of the Confirmation Order shall be null and void and all such rights of or against

the Estate shall exist as though the Plan had not been filed and no actions were taken to

effectuate it.

        Debtor may modify the Plan, in its sole discretion, either pre- or post-confirmation in

accord with the Bankruptcy Code, or, if for any reason the Plan cannot be consummated after

the Confirmation Date, at any time up to and including the Effective Date.

        B.       Confirmation Order Controls

        To the extent the Disclosure Statement is inconsistent with the Plan, the Plan shall

control. To the extent that the Plan, the Disclosure Statement, or any agreement entered into

between or among the Debtor and any third party is inconsistent with the Confirmation Order,

the Confirmation Order shall control.

        C.       Effectuating Documents and Further Transactions.

        The Debtor shall be authorized to execute, deliver, file, or record such documents,

contracts, instruments, releases and other agreements, and take such other action as may be

necessary to effectuate and further evidence the terms and conditions of the Plan. Debtor’s

counsel shall have no continuing duties post-confirmation other than to make the distributions

required on the Effective Date unless otherwise agreed to by the Reorganized Debtor and

counsel.

        D.       Substantial Consummation of the Plan.



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        Pursuant to the terms of the Plan, the Debtor believes that the Plan shall be deemed to

be substantially consummated under 11 U.S.C. § 1101 on the Effective Date.

        E.      Terms of the Plan are Binding.

        Pursuant to Section 1141 of the Bankruptcy Code, the Plan and all of its terms, when

approved and confirmed by the Bankruptcy Court, shall be binding upon, including, without

limitation, the Debtor, the Debtor’s Estate, all holders of Claims, Allowed or not, and their

respective successors and assigns.

        If, after the Confirmation Date, any term or provision of this Plan is determined to be

unenforceable, the remaining terms and provisions of this Plan shall nonetheless continue in

full force and effect.

        F.      Taxes. The issuance, transfer or exchange of a security or the making or

delivery of an instrument of transfer under this Plan, if any, including the execution or

recording of any mortgage modification, security agreement and related note, shall be deemed

to be free of any tax under any law imposing a stamp or similar tax pursuant to Section 1146(c)

of the Bankruptcy Code.

                                ARTICLE XIV.
               RETENTION OF JURISDICTION BY THE BANKRUPTCY
                                  COURT

        The Bankruptcy Court shall retain jurisdiction of these proceedings after the

Confirmation Date of this Plan until the entry of the final decree pursuant to Bankruptcy Rule

3022 for the following purposes:

        A.      To enable the Debtor and the Reorganized Debtor to consummate the Plan and

any amended or modified Plan and to resolve any disputes arising with respect thereto;



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       B.        To enable the Debtor and the Reorganized Debtor to consummate any and all

proceedings that it may bring prior to the entry of the Confirmation Order;

       C.        To determine all controversies relating to or concerning the classification,

subordination, allowance, valuation, or satisfaction of Claims;

       D.        To liquidate or estimate for purposes of allowance all contested, contingent, or

unliquidated Claims;

       E.        To determine the validity, extent, and priority of all liens, if any, against

property of the Estate;

       F.        To determine all assertions or an ownership interest in, the value of, or title to,

any property of the Estate;

       G.        To determine all applications for compensation and reimbursement and

objections to Administrative Claims;

       H.        To determine all (1) adversary proceedings, contested or litigation matters

brought before the Bankruptcy Court; and, (2) any and all Claims or causes of action asserted

by the Debtor;

       I.        Without limiting the generality of the preceding paragraph, to determine any

avoidance action brought by the Debtor;

       J.        To determine all controversies arising out of any purchase, sale, or contract

made or undertaken by the Debtor prior to the Confirmation Date;

       K.        To enforce all agreements assumed, if any, and to recover all property of the

Estate, wherever located;

       L.        To determine any tax liability of the Estate in connection with the Plan, actions

taken, distributions, or transfers made thereunder;
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       M.       To enforce any and all releases and injunctions created pursuant to the terms of

the Plan;

       N.       To modify the Plan or to remedy any defect or omission or reconcile any

inconsistencies in the Plan either before or after the entry of the Confirmation Order;

       O.       To hear and determine all controversies, suits, and disputes that may arise in

connection with the interpretation or enforcement of the Plan;

       P.       To make such orders as are necessary or appropriate to carry out the provisions

of the Plan; and

       Q.       To enter a Final Decree pursuant to Bankruptcy Rule 3022.

                                ARTICLE XV.
                        RECOMMENDATION OF CONFIRMATION

       The Debtor believes that Confirmation of the Plan is in the best interests of the creditors

and the Estate because confirmation of the Plan will enable Claimholders to receive higher

distributions under the Plan than they would in the event the case were converted to Chapter 7,

and will further result in the emergence of a viable Reorganized Debtor. Therefore, the Debtor

urges all holders of Impaired Claims to cast a Ballot voting in favor of the Plan on or before

_________2020.

                                          Respectfully submitted on September 8, 2020



                                          By:     /s/ Sofia Aneas
                                                  Sofia Aneas
                                                  President of Children First Consultants, Inc.


                                          By:     /s/ Nicole Grimal Helmstetter
                                                  Nicole Grimal Helmstetter, Esq.
                                                  Attorneys for the Plan Proponent
                                                     60


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                                             Florida Bar Number 86937




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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov

In re:                                                         Case No.: 19-25286-RAM

CHILDREN FIRST CONSULTANTS,                                    Chapter 11
INC.,

          Debtor.                                     /




                                   PLAN OF REORGANIZATION OF

                              CHILDREN FIRST CONSULTANTS, INC.




Submitted on September 8, 2020 by:

AGENTIS PLLC
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Nicole Grimal Helmstetter
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                                  PLAN OF REORGANIZATION

       CHILDREN FIRST CONSULTANTS, INC. (the “Debtor” or “Children First”), by and

through undersigned counsel, submits and proposes the following Plan of Reorganization

pursuant to 11 U.S.C. § 1121(b):

                                             ARTICLE I.
                                             DEFINITIONS

       Except as otherwise provided in this Plan, all terms used herein shall have the meanings

ascribed to such terms under the Bankruptcy Code, as amended, the Bankruptcy Rules, and the

Local Bankruptcy Rules for the Southern District of Florida (the “Local Rules”). For purposes

of this Plan, except as expressly otherwise provided or unless the context otherwise requires, all

capitalized terms not otherwise defined shall have the meanings assigned to them in this Section

of the Plan. The capitalized terms set forth below when used in this Disclosure Statement and

Plan of Reorganization shall have the following meanings:

       1.1.     “Administrative Claim” shall mean a Claim for payment of costs or expenses of

administration specified in Sections 503(b) and 507(a)(1) of the Bankruptcy Code, incurred after

the Petition Date through the Confirmation Date, including without limitation: (i) the actual,

necessary costs and expenses of preserving the Debtor’s Estate incurred after the Petition Date;

(ii) compensation for legal, accounting and other services and reimbursement of expenses

awarded pursuant to Sections 330(a) or 331 of the Bankruptcy Code; and, (iii) all fees and

charges assessed against the Debtor’s Estate pursuant to Section 1930 of Title 28 of the United

States Code.

       1.2.     “Administrative Claims Bar Date” shall mean the date which occurs thirty (30)

days from the Confirmation Date as the last date to request payment of Administrative Claims,

other than with respect to Professional Claims.



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       1.3.     “Administrative Expenses” shall mean any Claim for payment of costs or

expenses of administration specified in Sections 503(b) and 507(a)(1) of the Bankruptcy Code,

incurred after the Petition Date through the Confirmation Date, including without limitation: (i)

the actual, necessary costs and expenses of preserving the Debtor’s Estate incurred after the

Petition Date; (ii) Professional Claims; and (iii) all fees and charges assessed against the

Debtor’s Estate pursuant to Section 1930 of Title 28 of the United States Code.

       1.4.     “Adversary Proceeding” shall mean the adversary proceeding commenced on

June 2, 2020, by the Debtor upon the filing of a three count complaint against the Florida

Agency for Health Care Administration wherein the Debtor requested turnover of $831,128.28 of

uncontested receivables as property of the Estate.

       1.5.     “AHCA” shall mean Agency of Healthcare Administration.

       1.6.     “Allow,” “Allowed,” “Allowance” or words of similar meaning shall mean with

respect to a Claim against the Debtor’s Estate: (i) that no objection has been interposed within

the applicable period of limitation fixed by this Plan or by the Bankruptcy Court and that such

period of limitation has expired; or (ii) that the Claim has been allowed for purposes of payment

by an order of the Bankruptcy Court that is no longer subject to appeal or certiorari and as to

which no appeal or certiorari is pending.

       1.7.     “Allowed Administrative Expense Claim” shall mean an Allowed Claim for

which a Claimant asserts, and that is determined to be entitled to, priority under Sections 503 and

507(a)(1) and (a)(2) of the Bankruptcy Code, other than Administrative Claims.

       1.8.     “Allowed Claim” shall mean a Claim against the Debtor (i) allowed by a Final

Order, (ii) Scheduled as liquidated, undisputed and non-contingent by the Debtor in their

Schedules of Assets and Liabilities filed with the Bankruptcy Court, as they may be amended or
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supplemented) or (iii) timely filed with the Clerk of the Bankruptcy Court and to which no

objection has been made to the allowance thereof within a time fixed by the Bankruptcy Court

and the Claim is not otherwise a Disputed Claim.

          1.9.     “Allowed Unsecured Claim” shall mean an Allowed Claim which arose or

which is deemed to have arisen prior to the filing of the Petition commencing these Proceedings

and as to which the Claimant has not asserted, or as to whom it is determined by Final Order

does not hold, a valid, perfected and enforceable lien, security interest or other interest in or

encumbrance against property of the Debtor or a right of setoff to secure the payment of such

Claim, but excluding unsecured Claims previously paid in the Proceedings pursuant to

agreements approved by the Bankruptcy Court.

          1.10.    “Assets” shall mean the aggregate assets, of any kind, of the Debtor and its Estate

as more specifically defined in section 541 of the Bankruptcy Code.

          1.11.    “Avoidance Action” shall mean potentially avoidable transfers pursuant to

11 U.S.C. §§ 544, 547, 548, and 549.

          1.12.    “Ballot” shall mean the Ballot accompanying this Plan or Order Approving the

Disclosure Statement, upon which holders of Impaired Claims entitled to vote on this Plan shall

indicate their acceptance or rejection of his Plan in accordance with the instructions regarding

voting.

          1.13.    “Bankruptcy Code” (the “Code”) shall mean Title 11 of the United States Code,

which governs the Chapter 11 Case of the Debtor.

          1.14.    “Bankruptcy Court” (the “Court”) shall mean the United States Bankruptcy

Court for the Southern District of Florida, Miami Division, or any other court exercising



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competent jurisdiction over the Chapter 11 Case or any proceeding arising in or related to the

Chapter 11 Case.

       1.15.    “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure and

the local rules of the Bankruptcy Court (including any applicable local rules of the United States

District Court for the Southern District of Florida), as now in effect or hereafter amended.

       1.16.    “Cause(s) of Action” shall mean any and all causes of action to recover funds for

the benefit of the Estate.

       1.17.    “Chapter 11 Case” or this “Case” shall mean the proceeding under Chapter 11 of

the Bankruptcy Code under case number 19-25286-BKC-RAM.

       1.18.    “Claim” shall have the meaning provided for such term in Section 101(5) of the

Bankruptcy Code.

       1.19.    “Claimant,” “Claimholder” or “Creditor” shall mean the holder of a Disputed

Claim or Allowed Claim, as the case may be.

       1.20.    “Claimholder” shall mean a creditor of the Estate whose Claim is not a Disputed

Claim and who is entitled to vote on the Plan.

       1.21.    “Claims Bar Date” shall mean March 16, 2020, which is the date set by the

Bankruptcy Court as the last day for filing a proof of Claim for all creditors except a

governmental unit against the Debtor.

       1.22.    “Class” shall mean a group of Claims or Interests consisting of Claims or

Interests which are substantially similar to each other as classified pursuant to the Plan in

accordance with Section 1122 of the Bankruptcy Code.

       1.23.    “Confirmation” or “Confirmation Date” shall mean the date on which the

Confirmation Order is entered on the Bankruptcy Court’s docket.
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       1.24.    “Confirmation Hearing” shall mean the hearing conducted by the Bankruptcy

Court under Section 1128 of the Bankruptcy Code wherein the Bankruptcy Court shall consider

confirmation of this Plan, in accordance with Section 1129 of the Bankruptcy Code, as the same

may be continued from time to time.

       1.25.    “Confirmation Order” shall mean the Final Order of the Bankruptcy Court

confirming this Plan pursuant to Section 1129 of the Bankruptcy Code.

       1.26.    “Court” shall mean the United States Bankruptcy Court Southern District of

Florida, Miami Division.

       1.27.    “Cramdown Provisions” shall mean in the event that any Impaired Class of

Claimholders with Claims against the Debtor fail to accept the Plan in accordance with § 1129(a)

of the Bankruptcy Code, the Debtor will request the Bankruptcy Court to confirm the Plan in

accordance with § 1129(b) of the Bankruptcy Code.

       1.28.    “Creditor” shall mean any person or entity that is a holder of a Claim against the

Debtor.

       1.29.    “Debtor” shall mean CHILDREN FIRST CONSULTANTS, INC..

       1.30.    “Directors”        shall mean (i) Sofia Aneas, LMHC, BCBA, (ii) Oxana

Garkavchenko, LMHC, BCBA and (iii) Yudelkys San Juan Machin, BCBA, each owning a

33.3% equity interest in the Debtor.

       1.31.    “Disclosure Statement” shall mean the Disclosure Statement for the Plan of

Reorganization proposed by Debtor pursuant to Section 1125 of the Bankruptcy Code, as such

Disclosure Statement may be amended, modified or supplemented from time to time (and all

exhibits and schedules attached thereto or referred to therein).



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         1.32.    “Disputed Claim” shall mean: (i) a liability scheduled on the Schedules or the

Amended Schedules as disputed, contingent or unliquidated; or, (ii) a timely filed proof of Claim

against which an objection is pending, or is filed within the deadline provided in this Plan and

which Claim has not been Allowed by order of the Bankruptcy Court.

         1.33.    “Disputed Creditors” shall refer to those Creditors with disputed Claims that

have been so designated on Schedule F.

         1.34.    “Earn Out From Operations” shall mean the net disposable income of the

Debtor for the full fiscal year following the first distribution under the Plan after payment of all

ordinary course of business expenses and the establishment of a reserve for three months of

operations.

         1.35.    “Effective Date” shall mean the date on which distributions to Creditors shall

commence after the entry of the Confirmation Order. The Effective Date in this case shall take

place thirty (30) days after the entry of the Confirmation Order.

         1.36.    “Estate” shall mean the Estate created by Section 541 of the Bankruptcy Code

upon the Debtor’s filing of the Petition with the Bankruptcy Court in this Proceeding.

         1.37.    “Equity Interest” shall mean a share of stock, warrant or right, other than a right

to convert, to purchase, sell, or subscribe to a share, security, or interest in the Debtor, as more

specifically defined in Section 101(16) of the Bankruptcy Code.

         1.38.    “Executory Contracts” shall mean all contracts, oral or written, to which the

Debtor is a party and which are executory within the meaning of Section 365 of the Bankruptcy

Code.

         1.39.    “Final Order” shall mean an order or judgment of the Bankruptcy Court that is

appealable of right to the United States District Court for the Southern District of Florida
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pursuant to Section 158(a) of Title 28, United States Code, whether or not an appeal can be

timely taken, is taken, or is pending, unless the order is stayed pending appeal, and whether or

not a timely motion is filed under Bankruptcy Rules 7052(b) or 9023.

          1.40.    “General Unsecured Claim” shall mean any Claim against the Estate of the

Debtor other than an Administrative Claim or a Priority Claim.

          1.41.    “Governmental Unit” shall have the meaning set forth in Section 101(27) of the

Bankruptcy Code.

          1.42.    “Holder” shall mean a creditor of the Estate whose Claim is not a Disputed

Claim and who is entitled to vote on the Plan.

          1.43.    “Impaired” shall mean that the Holder of such Allowed Claim will not receive a

one hundred (100%) percent distribution on account of such Claim.

          1.44.    “Insiders” shall have the meaning given such term in Section 101(31)(B) of the

Bankruptcy Code: (i) a director of the debtor; (ii) an officer of the debtor; (iii) a person in control

of the debtor; (iv) a partnership in which the debtor is a general partner; (v) a general partner of

the debtor; or (vi) a relative of a general partner, director, officer, or person in control of the

debtor.

          1.45.    “Litigation Proceeds” shall mean the expected proceeds of the litigation to

recover accounts receivable which are expected to arrive in two segments; first from the payment

of Claims by AHCA and second, from Wellcare.

          1.46.    “Local Rules” ” shall mean the Local Bankruptcy Rules for the Southern District

of Florida.

          1.47.    “Monthly Operating Reports” ” shall mean the small business debtor monthly

operating reports filed by the Debtor in the Chapter 11 Case.
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       1.48.    “Petition Date” shall mean the date that the voluntary petition was filed in this

Case, which date was November 13, 2019.

       1.49.    “Plan” shall mean Debtor’s Plan of Reorganization in its entirety, together with

all addenda, exhibits, schedules and other attachments thereto, in its present form or as it may be

modified, amended or supplemented from time to time.

       1.50.    “Plan Fund” shall mean such sums available for payment of Allowed Claims

under this Plan.

       1.51.    “Plan Payment” shall mean disbursements contemplated in the Plan.

       1.52.    “Priority Cap” shall mean the maximum wage amount described in Section

507(a)(4) of $13,650.00.

       1.53.    “Priority Claim” shall mean a Claim entitled to priority under Section 507(a)(9)

of the Bankruptcy Code.

       1.54.    “Professional” shall mean a person or entity (a) employed in the Chapter 11 Case

pursuant to a Final Order in accordance with Section 327, 328, or 1103 or otherwise of the

Bankruptcy Code and to be compensated for services rendered prior to the Effective Date,

pursuant to Sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code or (b) for which

compensation and reimbursement has been allowed by the Bankruptcy Court pursuant to Section

503(b)(4) of the Bankruptcy Code.

       1.55.    “Professional Claim” shall mean the Claim of any legal counsel, accountant,

consultant, financial advisor, or other Professional entitled to such Claim pursuant to Sections

327, 328, 330, 331, 503(b) or 1103 of the Bankruptcy Code for services rendered before the

Effective Date.

       1.56.    “Proponent” shall mean the Debtor.
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        1.57.    “Reorganized Debtor” shall mean the Debtor in its restructured and reorganized

form as of the entry of the Confirmation Order.

        1.58.    “Scheduled” shall mean as set forth in the Debtor’s Schedules of Assets and

Liabilities.

        1.59.    “Schedules” or “Amended Schedules” or “Schedules of Assets and Liabilities”

or “Statement of Financial Affairs” shall mean the Schedules and any Amended Schedules

filed or which may be filed by the Debtor in this Chapter 11 Case.

        1.60.    “Solicitation Procedures Order” ” shall mean the order which sets forth the

solicitation procedures in this Chapter 11.

        1.61.    “United States Trustee” shall mean the Assistant United States Trustee for the

Southern District of Florida.

        1.62.    “United States Trustee Fees” shall mean the quarterly fee payments due under

28 U.S.C. § 1930(a)(6), to be paid to the United States Trustee System Fund at Treasury in each

case under chapter 11 (except small business cases under Subchapter V of chapter 11) for each

calendar quarter, or portion thereof, between the date a bankruptcy petition is filed and the date

the court enters a final decree closing the case, dismisses the case, or converts the case to another

chapter in bankruptcy.

        1.63.    “Voting Deadline” shall mean ________, 2020 5:00 p.m. Eastern Daylight Time.

        1.64.    “Uncontested Receivable” shall mean $831,128.28 of uncontested receivables

owed by AHCA which are the subject of the Adversary Proceeding.

        1.65.    “Wellcare” shall mean Wellcare Health Plans, Inc.

        1.66.    “Undefined Terms” shall mean that a term used but not defined herein shall have

the meaning given to it by the Bankruptcy Code or the Bankruptcy Rules, if used therein.
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                                        ARTICLE II.
                          CLASSIFICATION OF CLAIMS AND INTERESTS

            2.1     All Claims against the Debtor of whatever nature, whether or not scheduled,

liquidated or unliquidated, absolute or contingent, including all Claims arising from transactions

of the Debtor or rejection of executory contracts and/or unexpired leases, whether resulting in an

Allowed Claim or not, shall be bound by the provisions of the Plan. With the exception of

Administrative Claims, which are unclassified pursuant to 11 U.S.C. § 1123(a)(1), Claims

against the Debtor is classified as follows:

  CLASS                              CLASS                               IMPAIRMENT                 VOTE
                                  DESCRIPTION                                                   ENTITLEMENT
Unclassified       Allowed Administrative Expense Claims, Unimpaired                            Not entitled to vote
                   including Professionals Claims, for costs or
                   expenses of administering the Debtor’s case,
                   which are allowed under Section 503(b) of the
                   Bankruptcy Code and fees payable to the Clerk
                   of the Bankruptcy Court and the Office of the
                   United States Trustee that were incurred during
                   the course of the case.

Class 1            Allowed Wage Claims                                   Impaired              Entitled to vote
Class 2            Allowed General Unsecured Claims                      Impaired              Entitled to vote
Class 3            Equity Interests of the Directors                     Unimpaired            Not entitled to vote


                                  ARTICLE III.
                  TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

           General Matter Regarding Classification and Treatment of Claims.                      Except to the

extent the holder of an Allowed Claim or Allowed Interest against the Debtor agrees to accept

different but lesser treatment, the treatment of Allowed Claims and Allowed Interests shall be as

follows:

           3.1.     Administrative Expense Claims. Each holder of an Allowed Administrative

Expense Claim under § 503 of the Code will be paid upon receipt of the potential Litigation

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Proceeds arising out of the Debtor’s demand for payment of accounts receivable asserted against

the Agency for Healthcare Administration of Florida (“AHCA”). Should the Reorganized Debtor

chose to proceed to a second round of litigation against AHCA and/or Wellcare Health Plans,

Inc. (“Wellcare”), a sufficient amount of the Litigation Proceeds, to be determined at that time,

shall be set aside to fund actual projected litigation expenses. All Administrative Expense Claims

incurred in the ordinary course of the Debtor’s business, including without limitation, employee

wages, utilities, and taxes, shall be paid by the Debtor or Reorganized Debtor in the ordinary

course of business pursuant to customary terms and due dates.

       3.2.     Class 1.     Allowed Wage Claims. In light of their material and substantial

contribution to the Debtor’s business operations and going concern value, the Debtor shall treat

the Claims of its independent contractors as Priority Claims commensurate with the wage Claims

of the Debtor’s W-2 employees. Consistent with Section 507(a)(4), the Allowed Wage Claims

shall receive a pro rata distribution in an amount of up to 100% of $13,650.00 (the “Priority

Cap”). Any holders of Allowed Wage Claims whose total allowed Claim exceeds the Priority

Cap shall participate in distributions to Class 2 Allowed General Unsecured Claims. Class 1 is

Impaired and Claimants other than Insiders are entitled to vote.

       3.3.     Class 2.     Allowed General Unsecured Claims.                 After payment of allowed

Administrative Expense Claims and Class 1 Allowed Wage Claims, Allowed General Unsecured

Claims (including Allowed Wage Claims above the Priority Cap) shall receive a pro rata

distribution from the balance of the Plan Fund. Class 2 is Impaired and Claimants other than

Insiders are entitled to vote.




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        3.4.    Class 3. Equity Interests of the Directors. Class 3 consists of the equity

interests in the Debtor, which are owned by the Directors and are retained under the Plan. Class

3 Claimants are unimpaired and not entitled to vote.

        3.5.    Impaired Classes. The following classes are Impaired and entitled to vote on the

Plan: Class 1 and Class 2.

                                  ARTICLE IV.
                           ACCEPTANCE OR REJECTION OF PLAN

        4.1.    Voting Classes. Each holder of an Allowed Claim in Class 1 and 2 shall be

entitled to vote to accept or reject this Plan.

        4.2.    Presumed Acceptance of Plan. Class 3 is conclusively presumed to have

accepted this Plan or are otherwise not entitled to vote.

                                   ARTICLE V.
                    FUNDING AND IMPLEMENTATION OF THIS PLAN

        5.1.    Vesting of Property of the Estate. On the Effective Date, property of the

Debtor, not otherwise disposed of under the Plan, shall vest with the Reorganized Debtor.

        5.2.    The Plan Fund. The Plan shall be funded from the following sources (the “Plan

Fund”): (a) recoveries obtained from the Litigation Proceeds after payment of Allowed

Administrative Claims and a set aside of a reserve for litigation costs in the event that the

Reorganized     Debtor     elects   to    proceed     with    further    litigation   against    AHCA      or

Wellcare, and (b) an “earn out” distribution from the Debtor’s operations after the first full fiscal

year that follows the year in which the first distributions under the Plan are made (the “Earn Out

From Operations”). The term “Earn Out From Operations” shall mean the net disposable

income of the Debtor for the full fiscal year following the first distribution under the Plan after



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payment of all ordinary course of business expenses and the establishment of a reserve for three

months of operations.

           5.3.    Sources of Funding Plan Payments. The Plan Fund shall be funded through two

    sources (i) the Litigation Proceeds and (ii) an Earn Out From Operations. The Earn Out From

    Operations component will arise out of the Debtor’s provision of services to clients enrolled in

    private insurance plans, including but not limited to; Cigna, Aetna, Florida Blue, Tricare and

    United Healthcare. The Litigation Proceeds are expected to arrive in two segments; first from

    the payment of Claims by AHCA and second, from Wellcare. The anticipated payout of

    Litigation Proceeds from the litigation against AHCA is expected to be sufficient to satisfy

    Allowed Administrative Expense Claims, Allowed Wage Claims, establish a working capital

    reserve and fund a small portion of the Class 2 General Unsecured Claims. The second round of

    litigation with Wellcare is expected to provide an additional payment to Class 2 General

    Unsecured Claims. For illustrative purposes, if the Debtor recovers $1 million of Litigation

    Proceeds, approximately 50% of that amount shall be used to satisfy Allowed Administrative

    Expense Claims.1 The remaining $500,000.000 shall be used first to satisfy Class 1 Allowed

    Wage Claims up to the priority amount with the balance paid to Class 2 Allowed General

    Unsecured Claims, after the establishment of a working capital reserve. The Reorganized

    Debtor, as reorganized, will retain and will be vested in all property of the Estate, excepting

    property which is to be disposed of as provided herein and executory contracts which are

    rejected pursuant to this Plan. Sofia Aneas will continue as President of the Reorganized

    Debtor. The retained Estate property shall be used by the Debtor in the ordinary course of its


1
 Special Litigation Counsel, Christopher David, Esq’s employment was approved on a contingency fee basis in the
amount of 35%. The law firm of Agentis, General Counsel for the Debtor, has not yet filed a fee application in this
matter and has not otherwise received compensation for its services at this time.
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business, which will continue to be the operation of the corporation providing behavioral

analysis services to children with developmental disabilities, including but not limited to;

autism, down syndrome, attention deficit hyperactivity disorder (ADHD), depression, anxiety

and other conduct and behavioral issues in its present form, or as may be expanded or modified

in the business judgment of the Reorganized Debtor.

       5.4.     Events Occurring on or Before Confirmation. The following events shall

occur on or before the Confirmation Date: the Debtor shall continue to operate its business,

provide behavioral analysis services to clients and collect payments for services rendered in the

ordinary course of its business. The Debtor shall also commence litigation in the Circuit Court

of Leon County against AHCA for breach of contract and associated damages. In addition, the

Debtor shall continue to comply with the various other orders entered by the Bankruptcy Court

during the course of its case.

       5.5.     Events Occurring on or after the Effective Date. The following events shall

occur on or after the Effective Date: the Debtor shall continue operations and shall commence

the payments provided for in this Plan. All property of the Debtor and the Debtor’s Estate shall

vest in the Reorganized Debtor, and the Reorganized Debtor shall continue in the ordinary

course of business.

       5.6.     Documents. All necessary documents for the implementation of this Plan shall

be executed and delivered by the Debtor, when possible, on or before the Effective Date. To the

extent that the Debtor or any party in interest herein is unable to agree on the form or substance

of such documents, such unresolved issues shall be submitted to the Court. Upon execution and

delivery, all such documents shall be binding on the Debtor and Reorganized Debtor and all

other parties subject to such documents.
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       5.7.     Payments. On or as soon as practicable after the Effective Date and upon receipt

of the Litigation Proceeds, the Debtor shall commence payment of all amounts required to be

paid pursuant to Article III of this Plan.

       5.8.     Causes of Action. The Debtor reserves the right to commence or continue to

prosecute any and all Causes of Action which are unresolved during the pendency of this

Bankruptcy Case. The Debtor has reviewed its books and records and is not aware of any other

Claim or Cause of Action accruing to the Debtor, other than the collection of accounts receivable

against AHCA and Wellcare, in the ordinary course of business, including any rights and Claims

appurtenant thereto. The Debtor does not have the financial wherewithal to conduct a

fulsome Avoidance Action analysis pursuant to Section 544 of the Bankruptcy Code. To the

extent any Avoidance Actions exist, the Debtor believes that the targets would likely be the

Debtor’s current creditors. Accordingly, the Debtor specifically abandons any and all

potential Avoidance Actions.

       Except to the extent any rights, Claims, Causes of Action defenses, and counterclaims are

expressly and specifically released in connection with this Plan or in any settlement agreement

approved during the Bankruptcy Case: (i) any and all Causes of Action or Claims accruing to the

Debtor or the Estate shall remain assets of and vest in the Reorganized Debtor whether or not

litigation relating thereto is pending on the Effective Date, and whether or not any such Claims

or Causes of Action have been listed or referred to in the Plan, the Disclosure Statement, or any

other document filed with the Court, and the Debtor does not waive, release, relinquish, forfeit,

or abandon (nor shall it be estopped or otherwise precluded or Impaired from asserting) any

Claims, Causes of Action, or defenses that constitute property of the Estate.



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       5.9.     Reservation of Rights under Section 1129(b). The Debtor expressly reserves

the right, pursuant to Section 1129(b) of the Bankruptcy Code, to request that the Court confirm

this Plan if all of the applicable requirements of Section 1129(a) of the Bankruptcy Code have

been met, other than those of Section 1129(a)(8). Section 1129(b) of the Bankruptcy Code

provides that the Plan may be confirmed by the Court despite not being accepted by every

Impaired Class if (i) at least one Impaired Class of Claim has accepted the Plan, and (ii) the

Court finds that the Plan does not discriminate unfairly and is fair and equitable to the rejecting

Classes. Among other things, such a finding would require a determination by the Court that no

holder of an Allowed Claim junior to the rejecting Class will receive or retain any property or

payment under the Plan. In connection with such a request the Debtor may seek permission to

modify the Plan. Further, the Debtor reserves the right, pursuant to Section 1126(e) of the

Bankruptcy Code, to request that the Court strike any rejection of the Plan by any holder of a

Claim where such rejection is not in good faith.

       5.10.    No Waiver of Claims: Neither the failure to list a Claim in the Schedules

filed by the Debtor, the failure of the Debtor or any other Person to object to any Claim for

purposes of voting, the failure of the Debtor or any other person to object to a Claim or

Administrative Expense before Confirmation or the Effective Date, the failure of any

person to assert a Claim or Cause of Action before Confirmation or the Effective Date, the

absence of a proof of Claim having been filed with respect to a Claim, nor any action or

inaction of the Debtor or any other person with respect to a Claim or Administrative

Expense, other than a legally effective express waiver or release, shall be deemed a waiver

or release of the right of the Debtor before or after solicitation of votes on the Plan or

before or after Confirmation or the Effective Date to (a) object to or examine such Claim
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or Administrative Expense, in whole or in part or (b) retain an either assign or exclusively

assert, pursue, prosecute, utilize, otherwise act or otherwise enforce any Claim or Cause of

Action against the holder of any such Claim.

       5.11.    Disputed Claims. At the time the Debtor distributes payment to a Class in which

a member holds a disputed Claim, the Debtor shall deposit into an escrow account the amount to

which a disputed Claimant would be entitled if its Claim were allowed in full. Within thirty (30)

days after a disputed Claim becomes an allowed Claim, the pro rata distribution which should

have been disbursed to that Claimant had such Claim been an allowed Claim on the date of

distribution, shall be paid to such Claimant. Once all disputed Claims have been adjudicated, to

the extent that the amounts reserved for payment relating to those Claims exceed the amount of

such Claims as ultimately allowed, such excess shall be returned to the Reorganized Debtor.

       5.12.    Delay of Distribution on a Disputed Claim. No distribution will be made on

account of a disputed Claim unless such Claim is allowed by a final non-appealable order.

       5.13.    Settlement of Disputed Claims. The Debtor will have the power and authority

to settle and compromise a disputed Claim with court approval and compliance with Rule 9019

of the Federal Rules of Bankruptcy Procedure.

       5.14.    Post-Effective Date Fees and Expenses. From and after the Effective Date, the

Reorganized Debtor shall, in the ordinary course of its business be authorized to pay the

reasonable fees and expenses of Professional persons thereafter incurred, including, without

limitation, those fees and expenses incurred in connection with the implementation and

consummation of the Plan.

       5.15.    Determination of Tax Liability. The Debtor or Reorganized Debtor, as the case

may be, may seek determination of any tax liabilities pursuant to 11 U.S.C. § 505.
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                             ARTICLE VI.
      PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        6.1     Rejected Executory Contracts and Unexpired Leases. The Debtor has no

unexpired leases, however, the Debtor currently has 89 independent contractor agreements with

therapists. All executory contracts are deemed rejected upon entry of the order confirming this

Plan, unless otherwise expressly assumed. The Debtor reserves the right to file motions for the

assumption at any time prior to the Confirmation Date and to prosecute any such motion to entry

of a Final Order anytime thereafter.

                                ARTICLE VII.
               REQUEST FOR CONFIRMATION UNDER 11 U.S.C. § 1129(B)

        In the event any Impaired class of Claims or Interests does not accept the Plan, the

Debtor requests that the Court nevertheless confirm its Plan under the provisions of 11 U.S.C. §

1129(b).

                                         ARTICLE VIII.
                                      GENERAL PROVISIONS

        8.1.    Definitions and Rules of Construction.                   The definitions and rules of

construction set forth in §§ 101 and 102 of the Bankruptcy Code shall apply when terms defined

or construed in the Bankruptcy Code are used in this Plan, and they are supplemented by the

definitions in Article I.

        8.2.    Effective Date of Plan.         The effective date of this Plan is thirty (30) days

following the date of the entry of the Confirmation Order (the “Effective Date”). However, if a

stay of the Confirmation Order is in effect on that date, the Effective Date will be the first

business day after that date on which no stay of the Confirmation Order is in effect, provided that

the Confirmation Order has not been vacated.

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          8.3.    Severability. If any provision in this Plan is determined to be unenforceable, the

determination will in no way limit or affect the enforceability and operative effect of any other

provision of this Plan.

          8.4.    Binding Effect. The rights and obligations of any entity named or referred to in

this Plan will be binding upon, and will inure to the benefit of the successors or assigns of such

entity.

          8.5.    Captions. The headings contained in this Plan are for convenience of reference

only and do not affect the meaning or interpretation of this Plan.

          8.6.    Controlling Effect. Unless a rule of law or procedure is supplied by federal law

(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of

Florida govern this Plan and any agreements, documents, and instruments executed in connection

with this Plan, except as otherwise provided in this Plan.

                                     ARTICLE IX.
                        DISCHARGE, RELEASES, AND INJUNCTIONS

          9.1.    Discharge of Debt. Upon the Effective Date, the Debtor shall be fully and

completely discharged to the fullest extent permitted by Sections 1141 and 524 of the

Bankruptcy Code, from all Claims, debts and liabilities against the Debtor arising before the

Effective Date, except as specifically provided for by the Plan.

          9.2.    Releases.    As of the Effective Date, except for the Debtor’s express

obligations respecting distributions herein and Claims reserved by the Debtor to be

pursued under the Plan, the Debtor and the Reorganized Debtor are hereby released and

discharged from any and all Claims, causes of action, demands, liabilities, losses, damages,

whether known or unknown, under federal, state or other law, that arose after the Petition

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Date and prior to the Effective Date in connection with any matter arising from or relating

to the Debtor.

        9.3.     Injunction. Commencing on the Effective Date, all persons who hold or who

have held a Claim or Interest in the Debtor shall be permanently enjoined from commencing or

continuing any action, employment of process, or act to collect, offset, avoid or recover any

Claim against the Debtor, except as otherwise provided under the Plan.

                                ARTICLE X.
           RETENTION OF JURISDICTION BY THE BANKRUPTCY COURT

        The Bankruptcy Court shall retain jurisdiction of these proceedings after the

Confirmation Date of this Plan until the Confirmation Date for the following purposes:

                 a.       To enable the Debtor to consummate the Plan and any amended or

modified Plan and to resolve any disputes arising with respect thereto;

                 b.       To enable the Debtor to consummate any and all proceedings that it may

bring prior to the entry of the Confirmation Order;

                 c.       To determine all controversies relating to or concerning the classification,

subordination, allowance, valuation or satisfaction of Claims;

                 d.       To liquidate or estimate for purposes of allowance all contested,

contingent or unliquidated Claims;

                 e.       To determine the validity, extent and priority of all liens, if any, against

property of the Estate;

                 f.       To determine all assertions or an ownership interest in, the value of, or

title to, any property of the Estate;

                 g.       To determine all objections to Administrative Claims;

                                                     20


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                  h.      To determine all (1) adversary proceedings, contested or litigation matters

brought before the Bankruptcy Court; and, (2) any and all Claims or Causes of Action asserted

by the Debtor, either by and through the Debtor or Reorganized Debtor;

                  i.      Without limiting the generality of the preceding paragraph, to determine

any Avoidance Action brought by the Debtor;

                  j.      To determine all controversies arising out of any purchase, sale, or

contract made or undertaken by the Debtor prior to the Confirmation Date;

                  k.      To enforce all agreements assumed, if any, and to recover all property of

the Estate, wherever located;

                  l.      To determine any tax liability of the Estate in connection with the Plan,

actions taken, distributions or transfers made thereunder;

                  m.      To enforce any and all injunctions created pursuant to the terms of the

Plan;

                  n.      To modify the Plan or to remedy any defect or omission or reconcile any

inconsistencies in the Plan either before or after the entry of the Confirmation Order;

                  o.      To hear and determine all controversies, suits, and disputes that may arise

in connection with the interpretation or enforcement of the Plan;

                  p.      To make such orders as are necessary or appropriate to carry out the

provisions of the Plan.

                                         ARTICLE XI.
                                  MODIFICATIONS TO THE PLAN

         The Debtor may propose amendments or modifications to the Plan at any time prior to

the Confirmation Date without leave of the Bankruptcy Court. After the Confirmation Date

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parties- in-interest may, with Bankruptcy Court approval and so long as it does not materially or

adversely affect the interests of Creditors, remedy any defect or omission or reconcile any

inconsistencies in the Plan or in the Confirmation Order in such manner as may be necessary to

carry out the purposes and intent of the Plan.

                                        ARTICLE XII
                                    AMENDMENT OF CLAIMS

       Claimants shall not be permitted to amend or otherwise modify any Claim after the

Confirmation Date without leave of the Bankruptcy Court, unless the Claimant has specifically

reserved a right to amend its Claim.

                                          Respectfully submitted on September 8, 2020


                                          By:     /s/ Sofia Aneas
                                                  Sofia Aneas
                                                  President of Children First Consultants, Inc.


                                          By:     /s/ Nicole Grimal Helmstetter
                                                  Nicole Grimal Helmstetter, Esq.
                                                  Attorneys for the Plan Proponent
                                                  Florida Bar Number 86937




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            Exhibit “B”
8/26/2020                   Case 19-25286-RAM                 Doc  71LIVEFiled
                                                               CM/ECF            09/08/20Court:flsb
                                                                          - U.S. Bankruptcy  Page 98 of 131
                                                  Southern District of Florida
                                                       Claims Register
                                            19-25286-RAM Children First Consultants, Inc.

                                       Judge: Robert A Mark          Chapter: 11
                                       Office: Miami                 Last Date to file claims: 03/16/2020
                                       Trustee:                      Last Date to file (Govt): 05/11/2020
   Creditor:     (95440375)                              Claim No: 1                       Status:
   Melinda Clark LLC                                     Original Filed Date: 11/26/2019   Filed by: CR
   547 NE 58th street                                    Original Entered Date: 11/26/2019 Entered by: admin
   Miami, FL 33137                                                                         Modified:
    Amount claimed: $13200.00

   History:
   Details        1-1    11/26/2019 Claim #1 filed by Melinda Clark LLC, Amount claimed: $13200.00 (admin)
   Description:
   Remarks:


   Creditor:     (95669738)                              Claim No: 2                       Status:
   Magali Martinez Ramirez                               Original Filed Date: 04/24/2020   Filed by: CR
   FairLaw Firm                                          Original Entered Date: 04/24/2020 Entered by: admin
   7300 N. Kendall Drive                                                                   Modified:
   Suite 450
   Miami, FL 33156
    Amount claimed: $33377.99
    Priority claimed: $18526.50

   History:
   Details        2-1    04/24/2020 Claim #2 filed by Magali Martinez Ramirez, Amount claimed: $33377.99 (admin)
   Description:
   Remarks:


   Creditor:      (95703428)                             Claim No: 3                       Status:
   Polsinelli PC                                         Original Filed Date: 05/20/2020   Filed by: CR
   Attn: Accounting Dept/Bankruptcy                      Original Entered Date: 05/20/2020 Entered by: Henry H Bolz
   900 W 48th PL, Suite 900                                                                Modified:
   Kansas City, MO 64112
    Amount claimed: $9288.99

   History:
   Details        3-1    05/20/2020 Claim #3 filed by Polsinelli PC, Amount claimed: $9288.99 (Bolz, Henry)
   Description: (3-1) Legal Services Provided
   Remarks:



                                                        Claims Register Summary
                                                 Case Name: Children First Consultants, Inc.
                                                      Case Number: 19-25286-RAM
                                                              Chapter: 11
                                                         Date Filed: 11/13/2019
                                                       Total Number Of Claims: 3

                                                     Total Amount Claimed* $55866.98
                                                     Total Amount Allowed*
                                                       *Includes general unsecured claims


https://ecf.flsb.uscourts.gov/cgi-bin/SearchClaims.pl?791359020612313-L_1_0-1                                         1/2
8/26/2020                   Case 19-25286-RAM                 Doc  71LIVEFiled
                                                               CM/ECF            09/08/20Court:flsb
                                                                          - U.S. Bankruptcy  Page 99 of 131
                 The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                          Claimed Allowed
                                                     Secured
                                                     Priority       $18526.50
                                                     Administrative



                                                           PACER Service Center
                                                               Transaction Receipt
                                                                 08/26/2020 09:16:13
                                         PACER                                   Client
                                                      Agentis1:3197354:5794928             2185.001
                                         Login:                                  Code:
                                                                                           19-25286-RAM
                                                                                           Filed or Entered
                                                                                 Search
                                         Description: Claims Register                      From: 1/1/1990
                                                                                 Criteria:
                                                                                           Filed or Entered To:
                                                                                           8/26/2020
                                         Billable
                                                      1                          Cost:     0.10
                                         Pages:




https://ecf.flsb.uscourts.gov/cgi-bin/SearchClaims.pl?791359020612313-L_1_0-1                                         2/2
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            Exhibit “C”
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 Fill in this information to identify the case:

 Debtor name         Children First Consultants, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         19-25286
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     JP Morgan Chase                                         Checking Account                7151                                     $8,381.53



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $8,381.53
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                Case
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 Debtor         Children First Consultants, Inc.                                                      Case number (If known) 19-25286
                Name


           11a. 90 days old or less:                            193,573.00       -                                   0.00 = ....                 $193,573.00
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 22,259.54   -                             22,259.54 = ....                           $0.00
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                            1,311,964.89        -                                  0.00 =....                 $1,311,964.89
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                $1,505,537.89
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used    Current value of
                                                                                     debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment - See attached Exhibit "B-41"                                      $1,190.00       Liquidation                          $1,190.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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 Debtor         Children First Consultants, Inc.                                              Case number (If known) 19-25286
                Name


 43.        Total of Part 7.                                                                                                                $1,190.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Month to Month
                     Office Lease
                     5246 SW 8th Street,
                     Suite 208-D
                     Coral Gables, Florida
                     33134                                Lessee                            $0.00      N/A                                          $0.00




 56.        Total of Part 9.                                                                                                                    $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Children First Consultants, Inc.                                              Case number (If known) 19-25286
                Name

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            Internet Domain Name and Website
            www.childrenfirstconsultant.com                                                 $0.00                                                 $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor          Children First Consultants, Inc.                                                                    Case number (If known) 19-25286
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $8,381.53

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,505,537.89

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,190.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,515,109.42            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,515,109.42




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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           Items               Quantity   Purchase Price Actual Value
Office Supplies/File Folders     230      $      940.70 $ 460.00
       File Cabinets              8       $      800.00 $ 400.00
  HP Desktop Computer             1       $      500.00 $ 150.00
      Brother Printer             1       $      299.99 $      80.00
  Client Storage Cabinet          1       $      399.50 $ 100.00




           Total:                         $    2,940.19   $ 1,190.00
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            Exhibit “D”
                            Case
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                                                           Filed
                                                               09/08/20
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Fill in this information to identify the case:

            Children First Consultants, Inc.
Debtor Name __________________________________________________________________


                                        SouthernDistrict
United States Bankruptcy Court for the: _______ Districtofof Florida
                                                          ________

                                                                                                                      Check if this is an
Case number: 19-25286-RAM
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                July 2020
                     ___________                                                                Date report filed:    08/20/2020
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   Behavior Therapy
Line of business: ________________________                                                      NAISC code:           631330
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                          Children First Consultants Inc
                                            ____________________________________________

Original signature of responsible party     ____________________________________________

Printed name of responsible party           Sofia Aneas
                                            ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No        N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔                
    2.   Do you plan to continue to operate the business next month?                                                       
                                                                                                                           ✔                
    3.   Have you paid all of your bills on time?                                                                                 
                                                                                                                                   ✔         
    4.   Did you pay your employees on time?                                                                                               
                                                                                                                                             ✔

    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔                
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                
                                                                                                                           ✔                
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔                
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔                
    9.   Have you timely paid all of your insurance premiums?                                                              
                                                                                                                           ✔                
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔         
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔         
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                   ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       
                                                                                                                                   ✔         
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔         
Official Form 425C                           Monthly Operating Report for Small Business Under Chapter 11                      page 1
                         Case
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                                19-25286-RAM Doc
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                                                        Filed
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Debtor Name   Children  First Consultants, Inc.
              _______________________________________________________                             19-25286-RAM
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                17,346.72
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                                604.13
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                               672.21
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +          -68.08
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                17,278.64
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                           9,587.50
                                                                                                                             $ ____________

               (Exhibit E)




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Debtor Name   Children  First Consultants, Inc.
              _______________________________________________________                                19-25286-RAM
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         1,501,979.20
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                           0
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                           0
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                       1,075.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                                 0.00
                                        $ ____________           –          604.13
                                                                     $ ____________
                                                                                               =          604.13
                                                                                                   $ ____________
    32. Cash receipts
                                              388.67                        672.21             =          283.54
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                              -388.67            –          -68.08             =         -320.59
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                                0.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                      394.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                       -394.00




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Debtor Name   Children  First Consultants, Inc.
              _______________________________________________________                             19-25286-RAM
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔   38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.

    ✔
       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


    
    ✔   41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

In re:                                                 Case No.: 19-25286-RAM

CHILDREN FIRST CONSULTANTS, INC.,                      Chapter 11

         Debtor.                       /

         Children First Consultants, Inc. has accounts payables that it has not paid, as detailed on

Exhibit “E.”
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              Exhibit “C”
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        Exhibit C

DATE    DESCRIPTION                                                        AMOUNT



  17-Jul Florida Blue Payment                                                   604.13
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              Exhibit “D”
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       Exhibit D

DATE   DESCRIPTION                                                                            AMOUNT



 1-Jul Recurring Card Purchase 06/30 Amazon Prime*MS23C9Y Amzn.Com/Bill WA Card 1733 $13.09   $    13.09
 2-Jul Card Purchase 07/02 Google Gsuite_Childre 650-2530000 CA Card 1733 18.00               $    18.00
 3-Jul Recurring Card Purchase 07/03 Public Storage 00116 800-567-0759 FL Card 0179 76.77     $    76.77
 6-Jul Recurring Card Purchase 07/03 Dropbox*Cttqkdc2Sbgs 888-4468396 De Card 1733 75.00      $    75.00
 6-Jul Recurring Card Purchase 07/06 Int*Quickbooks Online 800-446-8848 CA Card 1733 70.00    $    70.00
13-Jul Recurring Card Purchase 07/11 Adobe Acropro Subs 408-536-6000 CA Card 1733 24.99       $    24.99
20-Jul Website creation payment                                                               $   230.00
22-Jul Recurring Card Purchase 07/21 His*Hiscox Inc 888-202-3007 NY Card 1733 98.83           $    98.83
27-Jul Recurring Card Purchase 07/27 J2 *Myfax Services 877-437-3607 CA Card 1733 10.00       $    10.00
27-Jul Recurring Card Purchase 07/25 Google *Google Storag 855-836-3987 CA Card 1733 1.99     $     1.99
29-Jul Counter check                                                                          $     2.00
31-Jul Card Purchase 07/30 Fedex 395283636269 Memphis TN Card 1733 38.45                      $    38.45
31-Jul Recurring Card Purchase 07/30 Amazon Prime*Mv7Br3I Amzn.Com/Bill WA Card 1733 13.09    $    13.09
                                                                                              $   672.21
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              Exhibit “E”
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Who is owed the money          Purpose of Debt               Amount       Due Date
Mirta Garcia                   Services Rendered Nov 15-30   $ 637.50     12/8/2019
Mirta Garcia                   Services Rendered Nov 15-30   $ 650.00     12/8/2019
T & R Franco Corp              Services Rendered Nov 15-30   $ 1,575.00   12/8/2019
                                                             $ 2,862.50

Who is owed the money          Purpose of Debt               Amount       Due Date
Mirta Garcia                   Services Rendered Dec 1-15    $ 675.00     1/10/2019
Mirta Garcia                   Services Rendered Dec 1-15    $ 750.00     1/10/2019
T & R Franco Corp              Services Rendered Dec 1-31    $ 2,800.00   1/10/2019
Alonso Therapy Services Corp   Services Rendered Dec 1-31    $ 2,500.00   1/10/2019
                                                             $ 6,725.00
                               Total                         $ 9,587.50
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                        Children First Consultants Inc
                                  A/R AGING SUMMARY
                                     As of July 31, 2020


            CURRENT      1 - 30       31 - 60        61 - 90            91 AND OVER           TOTAL
AHCA                                                                     1,483,279.82   $1,483,279.82
Wellcare                                                                   18,699.46      $18,699.46
TOTAL           $0.00    $0.00         $0.00          $0.00             $1,501,979.28   $1,501,979.28




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        CHASEO                                                                    July 01, 2020 through July 31, 2020
       JPMorgan Chase Bank, N.A.                                           Account Number:                        J7151
       P 0 Box 182051
       Columbus, OH 43218-2051

                                                                        CUSTOMER SERVICE INFORMATION
                                                                        Web site:                             Chase.com
                                                                        Service Center:                   1-800-242-7338
    00123043 ORE 02121021420 NNNNNNNNNNN 100000000064 0000              Deaf and Hard of Hearing:         1-800-242-7383
    CHILDREN FIRST CONSULTANTS INC                                      Para Espanol:                     1-888-622-4273
    DEBTOR-IN-POSSESSION 19-25286                                       International Calls:              1-713-262-1679
    5246 SW 8TH ST STE 208-D
    CORAL GABLES FL 33134-2375




jCHECKINGSUMMARYj_c_h_a_~_T_0_~_1 _~_s_~_~_s_c_he_c_~_~_ _~--~~-~~~--~
                                              INSTANCES                AMOUNT
Beginning Balance                                                   $17,346.72
Deposits and Additions                                                  604.13
ATM & Debit Card Withdrawals                         11                -440.21
Electronic Withdrawals                                                 -230.00
Fees                                                                      -2.00
Ending Balance                                       14             $17,278.64



jDEPOSITSANDADDITIONS~I-----~-~~-~-~~
DATE          DESCRIPTION                                                                                               AMOUNT
07/17         Remote Online Deposit                                                                                     $604.13
Total Deposits and Additions                                                                                            $604.13


!ATM & DEBIT CARD WITHDRAWALS!.....------------
DATE      DESCRIPTION                                                                                                   AMOUNT
07/01     Recurring Gard    Purchase 06/30 Amazon Prime*MS23C9Y Amzn.Com/Bill WA Card 1733                               $13.09
07/02     Card Purchase          07/02 Google Gsuite Childre 650-2530000 CA Card 1733                                     18.00
07/03     Recurring Card    Purchase 07/03 Public Storage 00116 800-567-0759 FL Card 0179                                 76.77
07/06     Recurring Card    Purchase 07/03 Dropbox*Cttqkdc2Sbgs 888-4468396 De Card 1733                                  75.00
07106     Recurring Card    Purchase 07/06 lnt*Quickbooks Online 800-446-8848 CA Card 1733                                70.00
07113     Recurring Card    Purchase 07/11 Adobe Acropro Subs 408-536-6000 CA Card 1733                                   24.99
07/22     Recurring Card    Purchase 07/21 His*Hiscox Inc 888-202-3007 NY Card 1733                                       98.83
07/27     Recurring Card    Purchase 07/27 J2 *Myfax Services 877-437-3607 CA Card 1733                                   10.00
07/27     Recurring Card    Purchase 07/25 Google *Google Storag 855-836-3987 CA Card 1733                                 1.99
07/31     Card Purchase          07/30 Fedex 395283636269 Memphis TN Card 1733                                            38.45
07/31     Recurring Card    Purchase 07/30 Amazon Prime*Mv7Br31 Amzn.Com/Bill WA Card 1733                                13.09
Total ATM & Debit Card Withdrawals                                                                                      $440.21


j~M&DEBITCARDSUMMARYI~~----------~
Oxana Garkavchenko Card 0179
                            Total ATM Withdrawals & Debits                                                               $0.00
                            Total Card Purchases                                                                        $76.77

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         CHASEO                                                                    July 01, 2020 through July 31, 2020
                                                                               Account Number:                         7151


                          Total Card Deposits & Credits                                                                      $0.00
S9fia Aneas Card 1733
                          Total ATM Withdrawals & Debits                                                                     $0.00
                          Total Card Purchases                                                                             $363.44
                          Total Card Deposits & Credits                                                                      $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                                     $0.00
                          Total Card Purchases                                                                             $440.21
                          Total Card Deposits & Credits                                                                      $0.00

!ELECTRONIC WITHDRAWALS!
 DATE    DESCRIPTION                                                                                                       AMOUNT
 07/20   Quickpay With Zelle Payment To Luzmarina Sanz Jpm403338852                                                        $230.00
 Total Electronic Withdrawals                                                                                              $230.00



 DATE    DESCRIPTION                                                                                                        AMOUNT
 07/29   Counter Check                                                                                                       $2.00
 Total Fees                                                                                                                  $2.00

The monthly service fee of $12.00 was waived this period because you maintained a minimum daily balance of $1,500.00
or more.


IDAILy ENDING BALANCE I
DATE                       AMOUNT            DATE                    AMOUNT              DATE                               AMOUNT

07/01                  $17,333.63            07113                 17,068.87            07127                              17,332.18
07/02                     17,315.63          07/17                 17,673.00            07/29                              17,330.18
07/03                     17,238.86         07120                  17,443.00            07/31                              17,278.64
07106                     17,093.86          07/22                 17,344.17


ISERVICECHARGESUMMARYI~~~~~~~~~~~~~-
TRANSACTIONS FOR SERVICE FEE CALCULATION                                                         NUMBER OF TRANSACTIONS
Checks Paid I Debits                                                                                                         11
Deposits I Credits                                                                                                            0
Deposited Items                                                                                                               0
Transaction Total                                                                                                            11

SERVICE FEE CALCULATION                                                                                               AMOUNT
Service Fee                                                                                                           $12.00
Service Fee Credit                                                                                                   -$12.00
Net Service Fee                                                                                                            $0.00
Excessive Transaction Fees (Above 100)                                                                                     $0.00
Total Service Fees                                                                                                         $0.00




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      CHASEO                                                                                           July 01. 2020 through July ~1. 2020
                                                                                                 Account Number:                             7151




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
                Your name and account number
         •      The dollar amount of the suspected error
         •      A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation .
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears.
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDlC


                                                                                               1Ei}    JPMorgan Chase Bank, N.A. Member FDIC
                                                                                               ~




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CHASEO                                                      July 01, 2020 through July 31, 2020
                                                        Account Number:   :                   17151




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                                                                    Children First Consultants Inc

                                                          TOTAL BUS CHK (7151), Period Ending 07/31/2020

                                                                         RECONCILIATION REPORT

                                                                         Reconciled on: 08/12/2020

                                                                         Reconciled by: Soﬁa Aneas

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                   USD

  Statement beginning balance                                                                                           17,346.72
  Checks and payments cleared (13)                                                                                        -672.21
  Deposits and other credits cleared (1)                                                                                   604.13
  Statement ending balance                                                                                              17,278.64

  Register balance as of 07/31/2020                                                                                     17,278.64
  Cleared transactions after 07/31/2020                                                                                      0.00
  Uncleared transactions after 07/31/2020                                                                                 -595.09
  Register balance as of 08/12/2020                                                                                     16,683.55



  Details

  Checks and payments cleared (13)

  DATE                             TYPE                              REF NO.                         PAYEE          AMOUNT (USD)
  07/01/2020                       Expense                                                           Amazon                -13.09
  07/02/2020                       Expense                                                           Google                -18.00
  07/03/2020                       Expense                                                                                 -76.77
  07/06/2020                       Expense                                                                                 -75.00
  07/06/2020                       Expense                                                                                 -70.00
  07/13/2020                       Expense                                                                                 -24.99
  07/20/2020                       Expense                                                                                -230.00
  07/22/2020                       Expense                                                                                 -98.83
  07/27/2020                       Expense                                                           MyFax                 -10.00
  07/27/2020                       Expense                                                           Google                 -1.99
  07/29/2020                       Expense                                                                                  -2.00
  07/31/2020                       Expense                                                                                 -38.45
  07/31/2020                       Expense                                                           Amazon                -13.09

  Total                                                                                                                  -672.21


  Deposits and other credits cleared (1)

  DATE                             TYPE                              REF NO.                         PAYEE          AMOUNT (USD)
  07/17/2020                       Deposit                           1                               Florida Blue          604.13

  Total                                                                                                                   604.13


  Additional Information

  Uncleared checks and payments after 07/31/2020

  DATE                             TYPE                              REF NO.                         PAYEE          AMOUNT (USD)
  08/03/2020                       Expense                                                                                 -82.10
  08/03/2020                       Expense                                                           Google                -18.00
  08/04/2020                       Check                             2348                            Us Trustee           -325.00
  08/04/2020                       Expense                                                                                 -75.00
  08/06/2020                       Expense                                                                                 -70.00
  08/11/2020                       Expense                                                                                 -24.99

  Total                                                                                                                  -595.09




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                                       Children First Consultants Inc
                                                     PROFIT AND LOSS
                                                      January - July, 2020


                                                                                                TOTAL
Income
 Sales                                                                                         6,162.04
Total Income                                                                                  $6,162.04
GROSS PROFIT                                                                                  $6,162.04
Expenses
 Accounting Software Licence                                                                    623.82
 Advertising & Marketing                                                                        263.45
 Bank Charges & Fees                                                                               2.00
 Insurance                                                                                      494.19
 Legal & Professional Services                                                                 2,570.00
 Office Supplies                                                                                754.67
 Other Business Expenses                                                                        980.39
 Rent & Lease                                                                                   576.77
 Taxes & Licenses                                                                               150.00
 Therapy Licence Software                                                                       486.92
 Therapy Supplies                                                                                -44.50
 Utilities                                                                                       70.00
Total Expenses                                                                                $6,927.71
NET OPERATING INCOME                                                                          $ -765.67
NET INCOME                                                                                    $ -765.67




                                   Cash Basis Wednesday, August 12, 2020 02:48 PM GMT-04:00        1/1
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                                             Children First Consultants Inc
                                                            BALANCE SHEET
                                                             As of July 31, 2020


                                                                                                            TOTAL
ASSETS
 Current Assets
 Bank Accounts
  TOTAL BUS CHK (7151)                                                                                   17,278.64
 Total Bank Accounts                                                                                    $17,278.64
 Accounts Receivable
  Accounts Receivable (A/R)                                                                            1,501,979.28
 Total Accounts Receivable                                                                            $1,501,979.28
 Other Current Assets
  Uncategorized Asset                                                                                          0.00
 Total Other Current Assets                                                                                  $0.00
 Total Current Assets                                                                                 $1,519,257.92
 Other Assets
 Loan to Health First Consultants Inc                                                                      1,510.00
 Total Other Assets                                                                                      $1,510.00
TOTAL ASSETS                                                                                          $1,520,767.92

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   Accounts Payable (A/P)                                                                               958,486.41
  Total Accounts Payable                                                                               $958,486.41
  Other Current Liabilities
   Direct Deposit Payable                                                                                      0.00
   Loan from Shareholder                                                                                 36,836.00
   Payroll Liabilities
    Federal Taxes (941/944)                                                                                6,711.90
    Federal Unemployment (940)                                                                              -370.00
    FL Unemployment Tax                                                                                        0.00
    Humana                                                                                                     0.00
    Salaries Payable                                                                                    105,000.00
   Total Payroll Liabilities                                                                            111,341.90
  Total Other Current Liabilities                                                                      $148,177.90
 Total Current Liabilities                                                                            $1,106,664.31
 Total Liabilities                                                                                    $1,106,664.31
 Equity
 Owners Distribution                                                                                  -1,005,500.00
 Retained Earnings                                                                                     1,425,915.16
 Net Income                                                                                               -6,311.55
 Total Equity                                                                                          $414,103.61
TOTAL LIABILITIES AND EQUITY                                                                          $1,520,767.92




                                        Accrual Basis Wednesday, August 12, 2020 02:47 PM GMT-04:00            1/1
                                                        NAME OF COMPANY CHILDREN FIRST CONSULTANTS INC

Weeks Projection
DRAFT & PRELIMINARY          Week 1       Week 2     Week 3       Week 4      Week 5      Week 6     Week 7      Week 8                               Week 9       Week 10     Week 11      Week 12         Week 13      Week 14       Week 15
                           11-10/11-16 11/17-11/23 11/24-11/30 12/01-12/07 12/08-12/14 12/15-12/21 12/22-12/28 12/29-1/04                          1/05-1/11     1/12-1/18   1/19-1/25    1/26-2/1        2/2-2/8      2/9 -2/15     2/16-2/22
Cash on Bank                  14051.33
Revenues
  Wellcare                                              $8,753.02                        $5,616.16       $5,552.62                     $6,696.00                 $      -                 $        -                   $      -
  Medicaid

Total Revenue              $14,051.33            -          8,753.02          -           8,435.55        5,552.62          -          $6,696.00                        -           -              -             -            -              -
Cost of Revenue
   Cost of Revenue

Total Cost of Revenue      $        -      $     -      $        -     $      -      $         -     $         -     $      -      $         -                   $      -    $      -     $        -      $      -     $      -      $       -

Gross Revenue              $ 14,051.33     $     -      $ 8,753.02     $      -      $ 8,435.55      $ 5,552.62      $      -      $ 6,696.00                    $      -    $      -     $        -      $      -     $      -      $       -


Operating Expenses
  Rent/STORAGE                                                                 500                                                           500                                               $109.26
  Dropbox                                                                   $75.00                                                        $75.00                                                $75.00
  Adobe                                                                                     $25.00                                                      $25.00
  Google                                                                    $18.00                                                        $18.00                                                $18.00
  Quickbooks                                   $30.00                       $70.00                                        $30.00                        $70.00                   $70.00                                                   $70.00
  Supplies                                                                  $80.00                                                        $80.00                                                 $0.00
  Amazon                                                                    $14.00                                                        $14.00                                                $14.00
  Bank Service Fee                                          $60.00                                                        $60.00                                                 $12.00                                                   $12.00
  Fax                                                       $40.00                                                        $40.00                                                 $10.00                                                   $10.00
  Professional Fees            $3,350.00                 $6,270.10                       $2,267.00       $3,069.70                     $4,062.50                                              $6,725.00
  Google Storage
  Hiscox Insurance




                                                                                                                                             -

Total Operating Expenses   $ 3,350.00      $   30.00    $ 6,370.10     $   757.00    $ 2,292.00      $ 3,069.70      $   130.00    $ 4,749.50      $    95.00    $      -    $    92.00       $6,941.26        $0.00         $0.00        $92.00
                                                                                                                                                                        -                                       -             -

Weekly Cash Flow           $ 10,701.33     $   (30.00) $ 2,382.92      $   (757.00) $ 6,143.55       $ 2,482.92      $   (130.00) $ 1,946.50       $    (95.00) $       -    $   (92.00) $ (6,941.26) $          -     $      -      $    (92.00)

Cash on Hand
Operating Balance          $       -    $ 10,701.33      ######## $ 13,054.25 $ 12,297.25 $ 18,440.80 $ 20,923.72 $ 20,793.72 $ 22,740.22 $ 22,645.22                        $ 22,645.22 $ 22,553.22 $ 15,611.96       $ 15,611.96   $ 15,611.96
Cash Receipts +              14,051.33          -         8,753.02        -      8,435.55    5,552.62         -      6,696.00         -           -                                  -           -           -                 -             -
Cash Disbursements -         (3,350.00)      (30.00)     (6,370.10)   (757.00)  (2,292.00)  (3,069.70)    (130.00)  (4,749.50)     (95.00)        -                               (92.00)  (6,941.26)        -                 -          (92.00)
Total =New Cash Balance    $ 10,701.33 $ 10,671.33       ######## $ 12,297.25 $ 18,440.80 $ 20,923.72 $ 20,793.72 $ 22,740.22 $ 22,645.22 $ 22,645.22                        $ 22,553.22 $ 15,611.96 $ 15,611.96       $ 15,611.96   $ 15,519.96
Weeks Projection
DRAFT & PRELIMINARY          Week 16       Week 17       Week 18      Week 19      Week 20      Week 21       Week 22       Wek 23       Week 24       Week 25       Week 26      Week 27       Week 28       Week 29       Week 30
                           2/23-2/29     3/1-3/7       3/8-3/14     3/15-3/21    3/22-3/28    3/29-4/4      4/5-4/11     4/12-4/18     4/19-4/25     4/26-5/2      5/3-5/9      5/10-5/16     5/17-5/23     5/24-5/30     5/31-6/6
Cash on Bank
Revenues
  Wellcare                 $      -                    $      -                  $      -                   $      -                   $      -      $      -      $      -     $      -      $      -      $      -      $       -
  Medicaid

Total Revenue                     -             -             -            -            -            -             -            -             -             -             -            -             -             -              -
Cost of Revenue
   Cost of Revenue

Total Cost of Revenue      $      -      $      -      $      -     $      -     $      -     $      -      $      -     $      -      $      -      $      -      $      -     $      -      $      -      $      -      $       -

Gross Revenue              $      -      $      -      $      -     $      -     $      -     $      -      $      -     $      -      $      -      $      -      $      -     $      -      $      -      $      -      $       -


Operating Expenses
  Rent/STORAGE                                $76.77                                               $76.77                                                 $76.77
  Dropbox                                     $75.00                                               $75.00                                                 $75.00
  Adobe                                                                 $24.99                                                              $24.99                                                                             $24.99
  Google                                      $18.00                                               $18.00                                                 $18.00
  Quickbooks                                                                         $70.00                                                 $70.00                                                                             $70.00
  Supplies                                     $0.00                                                $0.00                                                  $0.00
  Amazon                                      $13.09                                               $13.09                                                 $13.09
  Bank Service Fee                                                                   $12.00                                                 $12.00                                                                             $12.00
  Fax                                                                                $10.00                                                 $10.00                                                                             $10.00
  Professional Fees
  Google Storage                                                                      $1.99                                                  $1.99                                                                              $1.99
  Hiscox Insurance                                                                                                                          $98.83




Total Operating Expenses         $0.00       $182.86        $0.00       $24.99       $93.99       $182.86        $0.00         $0.00       $217.81       $182.86        $0.00         $0.00         $0.00         $0.00       $118.98
                                  -                          -                                                    -             -                                                      -             -             -

Weekly Cash Flow           $      -      $   (182.86) $       -     $   (24.99) $    (93.99) $    (182.86) $       -     $      -      $   (217.81) $    (182.86) $       -     $      -      $      -      $      -      $   (118.98)

Cash on Hand
Operating Balance          $ 15,519.96   $ 15,519.96 $ 15,337.10    $ 15,337.10 $ 15,312.11 $ 15,218.12 $ 15,035.26      $ 15,035.26   $ 15,035.26 $ 14,817.45 $ 14,634.59      $ 14,634.59   $ 14,634.59   $ 14,634.59   $ 14,634.59
Cash Receipts +                    -             -           -              -           -           -           -                -             -           -           -                -             -             -             -
Cash Disbursements -               -         (182.86)        -           (24.99)     (93.99)    (182.86)        -                -         (217.81)    (182.86)        -                -             -             -         (118.98)
Total =New Cash Balance    $ 15,519.96   $ 15,337.10 $ 15,337.10    $ 15,312.11 $ 15,218.12 $ 15,035.26 $ 15,035.26      $ 15,035.26   $ 14,817.45 $ 14,634.59 $ 14,634.59      $ 14,634.59   $ 14,634.59   $ 14,634.59   $ 14,515.61
Weeks Projection
DRAFT & PRELIMINARY          Week 31       Week 32      Week 33       Week34        Week 34      Week 35       Week 36       Week 37          Total
                           6/7-6/13      6/14-6/20    6/21-6/27     6/27-7/4      7/5-7/11     7/12-7/18     7/19-7/25     7/26-8/1
Cash on Bank
Revenues
  Wellcare                 $      -      $      -     $      -      $      -      $      -     $   604.13    $      -      $       -      $27,221.93
  Medicaid
                                                                                                                                          $       -
Total Revenue                     -             -            -             -             -            -             -              -      $ 43,488.52
Cost of Revenue
   Cost of Revenue                                                                                                                                    0

Total Cost of Revenue      $      -      $      -     $      -      $      -      $      -     $      -      $      -      $       -      $       -

Gross Revenue              $      -      $      -     $      -      $      -      $      -     $      -      $      -      $       -      $ 43,488.52


Operating Expenses
  Rent/STORAGE                  $76.77                                   $76.77                                                 $76.77     $1,569.88
  Dropbox                       $75.00                                   $75.00                                                 $75.00       $675.00
  Adobe                                                    $24.99                                                 $24.99                     $174.95
  Google                        $18.00                                   $18.00                                                 $18.00       $162.00
  Quickbooks                                               $70.00                                                 $70.00                     $690.00
  Supplies                       $0.00                                    $0.00                                                  $0.00       $160.00
  Amazon                        $13.09                                   $13.09                                                 $13.09       $120.54
  Bank Service Fee                                         $12.00                                                 $12.00                     $204.00
  Fax                                                      $10.00                                                 $10.00                       $0.00
  Professional Fees                                                                                                                       $25,744.30
  Google Storage                                            $1.99                                                  $1.99                       $9.95
  Hiscox Insurance                                         $98.83                                                 $98.83                     $296.49




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                                                                                                                                                  -
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                                                                                                                                                  -
                                                                                                                                                  -
                                                                                                                                                  -

Total Operating Expenses       $182.86        $0.00       $217.81       $182.86        $0.00         $0.00       $217.81       $182.86    $ 29,957.11
                                               -                                        -             -

Weekly Cash Flow           $   (182.86) $       -     $   (217.81) $    (182.86) $       -     $      -      $   (217.81) $    (182.86)   $ 15,611.96

Cash on Hand
Operating Balance          $ 14,515.61 $ 14,332.75    $ 14,332.75 $ 14,114.94 $ 13,932.08      $ 13,932.08   $ 13,932.08   $ 13,714.27
Cash Receipts +                    -           -              -           -                            -
Cash Disbursements -           (182.86)        -          (217.81)    (182.86)        -                -         (217.81)    (182.86)
Total =New Cash Balance    $ 14,332.75 $ 14,332.75    $ 14,114.94 $ 13,932.08 $ 13,932.08      $ 13,932.08   $ 13,714.27 $ 13,531.41
